Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 1 of 74 Page|D #: 3215

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT ()F DELAWARE

ANSELL HEALTHCARE
PRODUCTS LLC, Civil Action No.:
Plaintiff, 1:15-cv-00915-RGA
v.
RECKITT BENCKISER LLC, REDACTED PUBLIC VERSI()N
Defendant.

 

 

JOINT CLAIM CONSTRUCTION BRIEF

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Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 2 of 74 Page|D #: 3216

 

TABLE OF CONTENTS
_lfz_\_gg_
TABLE OF AUTHORITIES ........................................................................................................ Vii
I. THE PARTIES’ GENERAL COMMENTS ........................................................................ 1
A. Ansel1’s Geueral Comments In Reply ..................................................................... 1
B. @’S Response TO Ansell’S General Comments .................................................... 2
C. Ansell’S Statement About The Federal Circuit’S
Latest Pronouncement On Indei`miteness ................................................................ 6
D. RB’s Response To Ansell’S Discussion OfSonz`x Decision .................................... 8
II. DISPUTED CONSTRUCTIONS ........................................................................................ 9
CLAIM TERM NO. 1: “SYNTHETIC POLYISOPRENE PARTICLES
THAT ARE PRE-VULCANIZED” ................................................................................. 9
Ansell’S Opening Positic)n ................................................................................................... 9
RB’S Answering Position ................................................................................................... 10
Ansell’S Reply Position ...................................................................................................... 19
RB’s Sur-Reply Position .................................................................................................... 23
C'LAIM TERM NO. 2; “THE INTRA-P()LYISOPRENE PARTICLE
CROSSLINKS AND THE INTER-POLYISOPRENE PARTICLE
CROSSLINKS ARE SUBSTANTIALLY UNIFORM” .............................................. 26
Ansell’s Opening Position ................................................................................................. 26
RB’S Answering Position ................................................................................................... 27
Ansell’S Reply Position ...................................................................................................... 35
RB’S Sur-Reply Position .................................................................................................... 37

Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 3 of 74 Page|D #: 3217

Pa e
CLAIM TERM NO. 3: “WHEREIN THE INTRA-POLYISOPRENE
PARTICLE CROSSLINKS AND THE INTER-POLYISOPRENE
PARTICLE CROSSLINKS ARE SUBSTANTIALLY UNIFORMLY
DISTRIBUTED AMONG AND BETWEEN THE SYNTHETIC '
POLYISOPRENE PARTICLES” .................................................................................. 38
Ansell’S Opening Position ................................................................................................. 38
RB’s Answering Position ................................................................................................... 38
AnseH’s Reply Position ...................................................................................................... 39
CLAIM TERM NO. 4: “SUBSTANTIALLY CONCHOIDAL
FRACTURE” .................................................................................................................. 39
Ansell’S Opening Position ................................................................................................. 40
RB’S Answering P<)Sition ................................................................................................... 40
AnSeH’s Reply Position ...................................................................................................... 43
RB’S Sur~Reply Position .................................................................................................... 44
CLAIM TERM NO. 5: “ABSENCE OF INTRA-POLYISOPRENE
AND INTER-POLYISOPRENE PARTICLE FEATURES”; “ABSENCE
OF SCANNING ELEC'I`RON MICROSCOPE-VIEWABLE INTRA-
POLYISOPRENE AND INTER-P()LYISOPRENE PAR'I`ICLE `
FEATURES” .................................................................................................................... 44
Ansell’s Opening Position ................................................................................................. 44
RB’S Answering Position ................................................................................................... 45
Ansell’s Reply Position ...................................................................................................... 46

_ii_

Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 4 of 74 Page|D #: 3218

Page
CLAIM TERM ND. 6: “UNIFORMITY ()F IS()PRENE D()UBLE
BONDS” ........................................................................................................................... 47
AnSeH’s Opening Position ................................................................................................. 47
RB’s Answering Position ................................................................................................... 47
Ansell’s Rep1y Position ...................................................................................................... 48
CLAIM TERM NO. 7 : “PASSES THROUGH BCTH INTER-
PARTICLE REGIONS AND INTRA-PARTICLE REGIONS
NONPREFERENTIALLY” ............................................................................................ 48
Ansell’s Opening Position ................................................................................................. 48
RB’s Answering Position ................................................................................................... 49
Ansel]’S Reply Position ...................................................................................................... 49
CLAIM TERM NO. 82 “SAID SYNTHETIC POLYISOPRENE
PARTICLES BONDE]) TO EACH OTHER THROUGH INTRA-
P()LYISOPRENE PARTICLE CROSSLINKS AND INTER-
POLYISOPRENE PARTICLE CROSSLINK ” ........................................................ 50
Ansel1’s Opening Position ................................................................................................. 50
RB’S Answering Position ................................................................................................... 51
Ansel1’S Reply Position ...................................................................................................... 52
CLAIM TERM NO. 9: “()SMIUM TETROXIDE STAINING” ............................... 53
Ansell’s Opening Position ................................................................................................. 53
RB’S Answering Position ................................................................................................... 53
AnSeH’S Reply Position ...................................................................................................... 54
RB’S Sm-_Reply Position .................................................................................... ` ................ 55

_iii_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 5 of 74 Page|D #: 3219

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CLAIM TERM NO. 10: “WHEREIN THE INTRA-POLYISOPRENE

PARTICLE CROSSLINKS AND THE INTER-POLYISOPRENE

PARTICLE CROSSLINKS ARE SUCH THAT THE M()LECULAR

WEIGHT IS LESS THAN ABOUT [X] G/MOL BETWEEN THE

CROSSLINKS” ................................................................................................................ 55

Anse11’s 0pening Position ......... . ........................................................................................ 5 6

RB’S Answering Position ................................................................................................... 56

Ansell’$ Reply Position ...................................................................................................... 58

RB’S Sur-Reply Position .................................................................................................... 60
ANSELL’S CONCLUSION .......................................................................................................... 61
RB’S CONCLUSION .................................................................................................................... 61
JOINT APPENDIX TO JOINT CLAIM CONSTRUCTION BRIEF

U.S. Patent No 8,087,412 ........................................................................................... App, I

U.S. Patent No 8,464,719 ...................................................... App. 11

U.S. Patent No 9,074,027 ......................................................................................... App. 111

U.S. Patent No 9,074,029 ........................................................................................ App. IV

Declaration Of William D. Potter, Ph.D. dated December 30, 2016 ......................... App. V

Exhibit A - UK Patent Application GB 2,436,566

Exhibit B - Excerpts of the October 13, 2016 Deposition of
Dave Narasimhan, Ph.D.

Exhibit C ~ Excerpts of the November 9, 2016 Deposition of
David M. Lucas, Ph.D.

Exhibit D - April 15, 2016 response of Ansell to EPO office action
dated December 4, 2015, With attachments in connection
With European Application No. 09 739 504.0

_iv..

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 6 of 74 Page|D #: 3220

Exhibit E - EPO office action dated October 7, 2011 in connection With
European Application No. 09 739 504.0

Exhibit 12 - February 22, 2012 response of Ansell to EPO Oftice
Action dated October 25, 2011 in connection With
European Application No. 09 739 504.0

Exhibit G - CV of William D. Potter, Ph.D.
Exceipts of November 9, 2016 Deposition of David M. Lucas, Ph.D. .................. App. VI
Excelpts of January 10, 2017 Deposition of William D. Potter, Ph.D. ................. App. VII

Potter Deposition Exhibit 11 (Joint Repoit of Dr. William D. Potter and
Di'. 110 Chee~Chong in Case No. 1180 of 2014 in the Federal Court
of Australia, District Registry: NeW South Wales) .............................................. App. V111

CV of Dave Narasimhan, Ph.D. .............................................................................. App. IX

Potter Deposition Exhibit 7 (Excerpts of Affidavit of W111iam D. Potter,
Ph.D. dated March 3, 2016 and Annexul‘e WDP-2 thereto in Case
No. 1180 of 2014 in the Federal Court of Australia, District Registry:
1 NeW South Wales) .................................................................................................... App. X

Potter Deposition Exhibit 19 (Affidavit of Dr. Ho Chee~Chong,
dated June 28, 2016 in Case No. 1180 of 2014 in the Federal

Court of Australia, District Registi'y: New South Wales) ...................................... App. XI
Dec1arati0n Of Thomas B. Kenworthy dated November 30, 2016 ........................ App. XII
Exhibit 1 ~ Anse11’s Further Amended Statement of Claim in

Case No. 1180 of 2014 in the Federal Court of
Australia, District Registry: NeW South Wa1es

Exhibit 2 - Respondents’ Defense to Flnther Amended Statement
of Claim in Case No. 1180 of 2014 in the Federal Court
of Australia, District Registry: New South Wales

EXhibit 3 - Defendant Reckitt Benckiser LLC’s Objections And
Responses To Plaintiff"s First Set Of Requests For
Admission (Nos. 1-12)

Meda Pharmaceuiicals, Inc. v. Teva Pharmaceutz`cals, ]nc.,
N. 15~785-LPS (D. Del. Nov. 14, 2016) ............................................................... App. XIII

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 7 of 74 Page|D #: 3221

Potter Deposition Exhibit 15 (U.S. Patent No. 4, 243,567 to W. D. Potter) ......... App. XIV

Potter Deposition Exhibit 16 (U.S. Patent No. 5,132,129 to W. D.

Potter et al.) ............................................................................................................ App. XV
Potter Deposition Exhibit 17 (U.S. Patent App1ication Publication No.

_ 2009/0028811, W. D. Potter named inventor) ...................................................... App. XVI
Potter Deposition Exhibit 18 (U.S. Patent Application Publication No.
2016/0145401, W. D. Potter et al., named inventors) ......................................... App. XV11
Roche Diagnosz‘ics Opemtz`ons, Inc. v. Abbotf Dz`abetes Care, No.
07-753-JJF (D. Dei. sept 15, 2007) .................................................................. App. XVIH
Potter Deposition EXhibit 6 (Australian Patent AU 2009241426) ........................ App. XIX

EPO December 2, 2016 communication informing of intent to grant
patent, and Ansell’s January 5, 2017 response thereto in connection
With European Application No. 09 739 504.0 ....................................................... App. XX

_Vi..

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 8 of 74 Page|D #: 3222

 

TABLE OF AUTHORITIES
PagegsL
CASES
Absolm‘e Soflware, Inc. v. Stealfh Sz`gnal, Inc.,
659 F.3d 1121 (Fed. Cir. 2011) .................................................................................................. 22
Amgen, [nc. v. Chugaz' Pharmaceutical, Co., le.,
927 F.2d 1200 (Fed. Cir. 1991) ............................................................................................ 36, 58
Apple, Inc. v. Ameranih, Inc.,
842 F.3d 1229 (Fed. Cir. 2016) .................................................................................................. 50
Cayenne Medz'cal, Inc. v. Medshape, ]nc.,
2016 WL 2606793 (D. Ariz. May 6, 2016) ........................................................... 1, 3, 35, 39, 41
Core Wireless Lz'censing, S.a.r.l. v. Apple Inc.,
No. 15-cv-05008~PSG, 2016 WL 3124614 (N.D. Cal. Jun. 3, 2016) ................... 35, 39, 41
Coming Glass Works v. Sumitomo Elec. US.A., lnc.,
868 F.2d 1251 (Fed. Cir. 1989) .................................................................................................. 15
Dammz`ze, LLC v. Plumtree Software, Inc.,
417 F.3d 1342 (Fed. Cir. 2005) ............................................................................................ 5, 6, 7
Day Inz"l, Inc. v. Reeves Bros., Inc.,
260 F.3d 1343 (Fed. Cir. 2001) ............................................................................................ 11, 21
Dow Chemz'cal CO. v. NOVA Chemz'cals Corp. (Canada),
803 F.3d 620 (Fed. Cir. 2015) ...... 34, 37, 39, 44
Ecolab, Inc. v. Envz`rochem, Inc.,
264 F. 3d 1358 (Fed. Cir. 2001) ............................................................................... 26, 36, 56, 59
EMC Corp. v. Pure Storage, Inc. ,
77 F.Supp.3d 402 (D. Del. 2015) ................................................................................ _ ............... 26
Every Penny Counfs, ]nc. v. American Express Co. ,
563 F.3d 1378 (Fed. Cir. 2009) ...................................................................................... 45, 46, 49

-vii-

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 9 of 74 Page|D #: 3223

Page§s[
Geodynamics, [nc. v. Dynaenerge¢z`cs US, Inc.,
No. 2:15-CV~1546-RSP, 2016 WL 6217181 (E.D. Tex. Oct. 24, 2016) .............. 35, 39, 41
Gz'llette Co. v. Energizer Holdings, ]nc.,
405 F.3d 1367 (Fed. Cii‘. 2005) ..................................................................................................... 4
GPNE Corp. v. Apple Inc.,
830 F.3d 1365 (Fed. Cir. 2016) .................................................................................................. 16
Interclz'gital Communicaiz`ons, Inc. v. ZTE Corp.,
No. 13~00009,-00010-RGA, 2014 WL 1620733 (D, De1. Apr. 22, 2014) ................................ 26
Interval Licensz‘ng LLC v. AOL, Inc.,
766 F.3d 1364 (Fed. Cir. 2014) ......................................................................................... passim
lris Connex, LLC v. Acer' Am. Corp.,
No. 2:15-cV-1909-JRG, 2016 WL 4596043 (E.D. Tex. Sept. 2, 2016) ........................................ 4
Jonsson v. The Sz‘anley Works,
903 F.Zd 812 (Fed. Cir. 1990) ....................................................................................................... 3
LNP Engz`neerz'ng Plasz‘z`cs, Inc. v. Miller Waste Mills, Inc.,
275 F.Bd 1347 (Fed. Cir. 1999) ............................................................................................ 26, 27
Meda Pharmaceuticals Inc. v. Teva Pharmaceutz'cals, Inc.,
No. 15»785-LPS (D. Del. Nov. 14, 2016) .................................................................................. 22
Moments Pharmaceuticals, lnc. v. Teva Pharmaceuiicals USA Inc,,
809 F.3d 1366 (Fed. Cir. 2015) .................................................................................................. 26
Naw‘ilus, Inc. v. Bz'oSig Instruments, lnc.,
134 S. Ct. 2120 (2014) ........................................................................................................ passim
02 Micro 1141 ’l Ltd. v. Beyond Innovaz‘ion Tech. Co. ,
521 F.3d 1351 (Fed. Cir, 2008) ...................................................................................... 46, 49, 51
On Demand Machz'ne Corp. v. lngram Indus., Inc. ,
442 F.3d 1331 (Fed. Cir. 2006) .................................................................................................. 13
Ortho-McNeil Pharmaceutical, Inc. v. Coraco Pharmaceutz`cal Labs, Ltd.,
476 F.3d 1321 (Fed. Cir. 2007) .................................................................................................. 60

~ viii -

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 10 of 74 Page|D #: 3224

Page§s)
Pacing Techs., LLC V. Garmin Im"l, Inc.,
778 F.3d 1021 (Fed. Cir. 2016) .................................................................................................. 25
Personalized Medicz Commc ’ns, LLC v. Int’l dee Comm ’n,
161 F.3d 696 (Fed. Cir. 1998) .................................................................................................... 14
Pjizer, Inc. v. Ranbaxy Labs, Ltd.,
457 F.3d 1284 (Fed. Cir. 2006) ..................................................................................................... 2
Phillips v. AWH Corp.,
415 F.3d 1303 (Fed. Cir. 2005) ............................................................................................... 2, 51
Poly-Am., L.P. v. API Indus., Inc.,
839 F.3d 1131 (Fed. Cir. 2016) ...................................................................................... 11, 20, 25
Reckiz‘t Benckiser Pharmaceuz‘icals Inc. v. Watson Laboratorz`es, Inc.,
No. 13~1674~RGA, 2016 WL 3186659 (D. Del. June 3, 2016) ........................................ 37
Rem`shaw PLC v. Marposs Socz`eta ’ per Azz'onz',
158 F.3d 1243 (Fed. Cir. 1998) .................................................................................................. 14
Rheox, Inc. v. Entact, Inc.,
276 F.3d 1319 (Fed. Cir. 2002) ............................................................................................ 11, 21
Roche Dz`agnosz‘ics Operatz‘ons, Inc. v. Abbotl' Diabetes Care,
No. 07~753-JJF (D. Del. Sept. 15, 2007) ................................................................................... 59
S3 Inc. v. NVIDIA Corp.,
259 F.3d 1364 (Fed. Cir. 2001) .................................................................................................. 14
,S'cz']\/fea1 Life Sys. v, Advanced Cardiovascular Sys. ,
242 F.3d 1337 (Fed. Cir. 2001) .................................................................................................. 25
SmithKlineBeecham Corp. v. Apotex Grp.,
439 F.3d 1312 (Fed. Cir. 2016) .................................................................................................. 23
Solomon v. Kimberly-Clarke Corp.,
216 F.3d 1372 (Fed. Cir. 2001) ................................................................................................ 1, 3
Sonix Technology Co., Ltd. v. Publz'cations Int’l, Ltd.,
__P`.3d __, 2017 WL 56321 (Fed. Cir. Jan. 5, 2017) ................................... passim

_iX_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 11 of 74 Page|D #: 3225

Page§s)

Synthes (USA) v. sz'th & Nephew, Inc.,

No. 03-cv~0084, 2008 WL 343114 (E.D. Pa. Feb. 4, 2008) ................................................ 58, 61
Technology Innova!z'ons LLC v. Amazon.com,

35 F. Supp. 3d 613 (D. De1.2014) ............................................................................................. 26
T eva Pharm. USA, Inc. v. Sandoz, Inc.,

789 F.3d 1335 (Fed. Cir. 2015) ...................................................................................... 14, 34, 39
U.S. Surgz`cal Corp. v. Ethz'con, Inc.,

103 F.3d 1554 (Fed. Cir. 1997) .................................................................................................. 51
Vanguard Prods. Corp. v. Parker Hannzfn Corp.,

234 F.3d 1370 (Fed. Cir. 2000) .................................................................................................. 23
Verz`zon Servs. Cor'p. v. Vonage Holdz'ngs Corp.,

503 F.3d 1295 (Fed. Cir. 2007) ............................................................................................ 16, 17
Verve, LLC v. Crane Cams, Inc.,

311 F.3d 1111 (Fed. Cir. 2003) .................................................................................................... 7
Voz`ce Techs. Group, Inc. v. VMC Sys.,

164 F.3d 605 (Fed. Cir. 1999) ....................................................................................................... 3
RULES
Fed. R. Civ. P. 16 ........................................................................................................................... 22
Fed. R. Evid. 801(0) ...................................................................................................................... 37
Fed. R. Evid. 802 .......................................................................................................................... 37
§IAILFIL§
28 U.S.C. § 1746 ........................................................................................................................... 37
35 U.S.C. § 112 ............................................................................................................... 1, 3, 14, 15

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 12 of 74 Page|D #: 3226

OTHER
‘°Whei'e Does the Scope in Substance Fali ~ Claim Construction

in Australia" - http://WWW.spruson.com/scope-substance~t`all-
claim~construction-austraiia/ .............................................................................................. 5

..Xi..

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 13 of 74 Page|D #: 3227

ln accordance With paragraph 10 of the Scheduling Order (D.1. 18), as amended, Plaintiff
Ansell Healthcare Products LLC (“Ansell”) and Defendant Recl<itt Bencl<iser LLC (“RB”)
respectfully submit this Joint Claim Construction Brief. A Joint Appendix hereto is being filed
separately The Patents-in-Suit are U.S. Patent Nos. 8,087,412 (“the ’412 Patent”) (App. 1
hereto), 8,464,719 (“the ’719 Patent”) (App. 11 hereto), 9,074,027 (“the ’027 Patent) (App. 111

hereto), and 9,074,029 (“the ’029 Patent”) (App. IV hereto).

I. 'I`HE PARTIES’ GENERAL COMMENTS

A. Ansell’s Gener_al Comment_s In Replv

RB’s answering brief on claim construction/indefiniteness relies heavily on the
declaration of William D. Potter that reads more like a lawyer’s brief than the declaration of an
expert based on scientific principles Dr. Potter’s declaration, in turn, improperly relies on
excerpts of the depositions of two of the inventors, When the F ederal Circuit has made clear that
“[i]t is particularly inappropriate to consider inventor testimony obtained in the context of
litigation in assessing validity under Section 112, paragraph 2, in view of the absence of
probative value of Such testimony.” Solomon v. Kz`mberly~CZarke Corp., 216 F.3d 1372, 1379
(Fed. Cir. 2001); See also Cayenne Medz`cal, ]nc. v. Medshape, Inc., 2016 WL 2606793, at *4
(D. Ariz. May 6, 2016) (a case cited by RB). Additionally, P\B ignores the fact that the U.S.
Patent Office has found that all of the challenged terms have satisfied the definiteness
requirements of 35 U.S.C. § 112, 11 2, giving rise to a presumption of validity Indeed, Dr. Potter
and RB rely instead on a preliminary rejection by the European Patent Office applying different

standards Reliance on such actions by a foreign patent office is inappropriatel Even statements

 

1 l\/luch greater reliance and deference should be placed on the actions of the United States
Patent Office in the context of the Patents-in-Suit. Moreover, other than the EPO’s concern With

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Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 14 of 74 Page|D #: 3228

of a patentee “made during prosecution of foreign counterparts to the [patents-in~suit] are
irrelevant to claim construction because they Were made in response to patentability
requirements unique to [another jurisdiction’s] law.” Pjizer, Inc. v. Ranbaxy chbs, Lta'., 457 F.3d
1284, 1298 (Fed. Cir. 2006).

RB fails to address any of the cases cited by Ansell, and the cases that it does cite are
inapt. Moi'eover, as discussed in the next section, a highly relevant decision of the Federal
Circuit was handed down after RB served its brief. Finaliy, RB fails to address the very
significant fact that RB’s corporate affiliates Were sufficiently able to understand several of the
challenged terms to actually admit in litigation in Australia that those features are present in the

accused Durex RealFeel® synthetic polyisoprene condoms.

B. RB’s Response To Anseil’s General Ccmments

Ansell’s reply brief begins with a few general criticisms directed toward Dr. Potter’s
declaration and RB’s arguments While observing first that Ansell did _IM dispute anything in
Dr. Potter’s declaration, RB responds as foilows.

Inventor Testimony: While critical of Dr. Potter’s references to inventor testimony,
Ansell itself relies on inventor testimony to support its proposed construction of the term
“synthetic polyisoprene particles that are pre-vulcanized”. (See Ansell Reply, p. 19.)
Regardless, there is no blanket prohibition against considering inventor testimony in the context
of claim construction or indefiniteness ln fact, as long as the testimony does not go to the
subjective intent of the inventor in using a particular term, inventor testimony is undoubtedly
relevant and helpful extrinsic evidence that the Court (and thus experts) can consider. Se@

Phillips v. AWH Corp., 415 F.3d 1303,,1317-19 (Fed. Cir. 2005).

 

 

 

respect to the use of the word “substantially,” the actions of the foreign patent offices vis-A-vig
the claim terms in issue also support Ansell, not RB.

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Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 15 of 74 Page|D #: 3229

Here, the testimony was nt_)_t directed to the inventors’ subjective intent, but instead was
focused _on: (a) what was known in the art at the time of the invention; (b) a high-level
explanation of the allegedly novel features of the invention; (c) how to utilize the various figures
in the patents; (d) how the inventors documented their invention; (e) what method a person of
ordinary skill in the art would have used to determine whether something was within the scope of
their invention; and (f) whether that method would have been objective (See Declaration of
William D. Potter, Ph.D. (“Potter Decl.”) (App. V hereto) 1111 40, 41, 45, 52, 53, 54, 56, 59, 60,
63, 64, 74, 75, 77, 78, 92, 93.) That is appropriate extrinsic evidence, and it was entirely proper
for Dr. Potter to have considered it in relation to his own views See Voice Techs. Group, ]nc. v.
VMC Sys., 164 F.3d 605, 615 (Fed. Cir. 1999) (“An inventor is a competent witness to explain
the invention and what was intended to be conveyed by the specification and covered by the
claims The testimony of the inventor may also provide background infonnation, including
explanation of the problems that existed at the time the invention was made and the inventor’s
solution to these problems.”); Jonsson v. The Stcmley Works, 903 F.2d 812, 821 (Fed. Cir. 1990)
(ruiing that district court’s reliance on an inventor’s deposition testimony that was contra§y to
patent holder’s litigation-induced interpretation was proper).2

U.S. Prosecution History: Ansell argues that “the U.S. Patent Office has found that all

of the challenged terms have satisfied the definiteness requirements of 35 U.S.C. § 112, 11 2,

 

2 Ansell’s reliance on Solomon, 216 F.3d 1372, is misplaced That case did pit address the
extent to which inventor testimony can be considered in the context of indefiniteness Rather,
Solomon addressed the use of testimony about what the inventor subjectively thought he
invented in the context of the court determining whether the claims set forth “the subject matter
which the applicant regards as his invention,” which is different than, and in addition to, the
definiteness requirement under pre-AIA Section 112, second paragraph The decision in
Cayenne Mea’., 2016 WL 2606983, relies on Solomon but fails to address this distinction, and is
otherwise inapposite because, in that case, the patent owner tried to use inventor testimony to
explain what the inventors subjectiver meant by using a particular claim term. 1~1erej the
testimony has nothing to do with subjective intent

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Case ‘1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 16 of 74 Page|D #: 3230

giving rise to a presumption of validity.” There was no such finding Beyond having generally
allowed the claims, there is no evidence that the U.S. patent examiner ever considered the
definiteness of the challenged/terms And, if, as Ansell suggests, the mere grant of a patent is
dispositive as to definiteness, no claim would ever be found by a court to be indefinite

European Prosecution History: Although Ansell complains about RB’s reference to
the prosecution of the European counterpart to the Patents»in~Suit, the Federal Circuit has
endorsed the use of statements made in foreign prosecutions where they constituted “blatant
admissions” by the applicant directed at the relevant claims See Gillez‘te Co. v. Energizer
Holdz'ngs, Inc., 405 F.3d 1367, 1374 (Fed. Cir. 2005); see also Iris Connex, LLC v. Acer Am.
Corp., No. 2:15-cv-l909-JRG, 2016 WL 4596043, at *16 n.9 (E.D. Tex. Sept. 2, 2016) (“Use of
the more detailed statements made by the applicant during the European prosecution directed to
overcome a similar rejection is particularly appropriate here. The European application and the
[U.S.] patent have the same specification, descend from the same PCT 1nternational Application,
and the European claim and proposed amendment is nearly identical to same of the patent-in-
suit. Under such circumstances such statements have probative value relevant to the present
claim construction inquiry.”).

Such is the case here, where: (a) the specifications are the same and descend from the
same application; (b) the claim language at issue is virtually identical; (c) the European patent
office rejected the term “substantially unifoim” as lacking clarity (which is analogous to
indefiniteness under U.S. law); (d) Ansell acknowledged the clarity problem and attempted to
solve it by eliminating the word “substantially” from the claims; and (e) Ansell admitted
(contrary to what it now argues) that “[a]ccording to the present invention” the claimed

uniformity between crosslinks depends on and “is achieved by monitoring and controlling the

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 17 of 74 Page|D #: 3231

pre-vulcanization . . . .” (See Office Action Response dated 04/15/2016, pp. 6, 7, Potter Decl.,
Ex. D; EU Office Action dated 10/07/2011, p. 3, Potter Decl., Ex. E; EU Office Action Response
dated 02/22/2012, p. 1-2, Potter Decl., Ex. F.).

Australian Case: Despite objecting to the statements it made during the European
prosecution because the applicable legal standard is different, Ansell nonetheless heavily relies
on statements concerning infringement made in the litigation involving its Australian counterpart
patent. RB was n_gt a party to that case and did n_o_t_ make the statements Further, the claim
construction standard in Australia is different than in the U.S., making any statements concerning
infringement in Australia irrelevant here because they depend on claim construction3 l\/loreover,
Ansell failed to mention that despite the statements, the issue of definiteness was preserved and
remains in dispute in Australia, and, it appears from the available public record, that the
statements were made for tactical reasons eariy in the case and without expert consultation in an
effort to streamline the proceedings as opposed to having been based on an informed
understanding as to the objective scope of the claims

But, at bottom, none of this matters because the statements concerning infringement are
irreievant regardless where they were made or who made them. 1nfringement is n_r_)_t the same
question as indefiniteness, and “indefiniteness does not depend on the difficulty [or ease]
experienced by a particular person in comparing the claims with the prior art or the claims with

allegedly infringing products or acts.” See Datczmize, LLC v. Plumz‘ree Sof!ware, Inc., 417 F.3d

 

3 See “Where Does the Scope in Substance Fall - Claim Construction in Australia” ~

http://www.spruson.com/scope-substance-fall-claim-construction-australia/ (article written by
Ansell’s Australian law firm indicating that the “scope of a claim may vary” depending on which
law is applied because in Australia, unless the claims are ambiguous they are given their plain-
English meaning, whereas in the U.S., absent a disclaimer or deliberate redefinition by the
inventor, claims are always given their ordinary meaning as understood by a person of ordinary
skill in the art).

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Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 18 of 74 Page|D #: 3232

1342, 1354 (Fed. Cir. 2005); see also Sonix Technology Co. Lz.‘d. v. Publz`caz‘ions Int’l, Ltd,, _
F.3d _, 2017 WL 56321 (Fed. Cir. Jan. 5, 2017) (Ansell’s lead case on reply making clear that
“[n]either does the fact that an expert has applied a contested claim term without difficulty
render a claim immune from an indefiniteness challenge.”).

C. Ansell’s Statement About The Federal Circuit’s
Latest Pronouncement On Indef'initeness

The Federal Circuit’s most recent pronouncement on the issue of indefiniteness is in

Som`x, “___ F.3d ___~, 2017 WL 56321. As noted by the Sonix Court:

“Section 112 requires that a patent specification ‘conclude
with one or more claims particularly pointing out and distinctly
claiming the subject matter which the applicant regards as his
invention.’ The Supreme Court has read this provision to require
that ‘a patent’s claims, viewed in light of the specification and
prosecution history, inform those skilled in the art about the scope
of the invention with reasonable certainty.’ Nautilus, 134 S. Ct. at
2129. 1ndefiniteness must be proven by clear and convincing
evidence See Teva II, 789 F.3d at 1345.

The § 112 11 2 requirement strikes a ‘delicate balance’
between the ‘inherent limitations of ianguage’ and providing ‘clear
notice of what is claimed.’ Nautilus, 134 S. Ct. at 2129 (internal
citations omitted). Even so, the Supreme Court has recognized that
‘absolute precision is unattainable.” Ia’. ‘ [T]he certainty which the
law requires in patents is not greater than is reasonabie, having
regard to their subject'matter.” Id. (quoting Mz`nemls Sepamz‘ion,
Ltd. v. Hyde, 242 U.S. 261, 270 (1916) (internal quotation marks
omitted)).

Because language is limited, we have rejected the
proposition that claims involving terms of degree are inherently
indefinite later/val Lz`censing, 766 F.3d at 1370. Thus, ‘a patentee
need not define his invention with mathematical precision in order
to comply with the definiteness requirement.” Invz'trogen Corp. v.
Bz`ocrest Mfg., L.P., 424 F.3d 1374, 1384 (Fed. Cir. 2005) (citation
omitted). lndeed, ‘[c]laim language employing terms of degree
has long been found definite where it provided enough certainty to
one of skill in the art when read in the context of the invention.’
Im‘erval Licensing, 766 F.3d at 1370 (citing Ez'bel Process CO. v.
Mz'nns. & Om‘. Paper Co., 261 U.S. 45, 65-66 (1923)).”

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Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 19 of 74 Page|D #: 3233

2017 WL 56321 at *5. The necessary clear and convincing evidence must establish that persons
skilled in the field of the invention would not be able to understand the scope of the invention
based on the description in the specification and the knowledge in the art. Patents are not
“required to be written as a.comprehensive tutorial and treatise for the generalist.” See Verve,
LLC v. Cmne Cams, ]nc., 311 F.3d llll, 1119 (Fed. Cir. 2003).

The Som`x Court further explained that the types of limitations that were “purely
subjective” so as to render a claim indefinite were those that “turned on a person’s taste or
opinion.” Som`x, 2017 WL 56321 at *6. The Court gave examples of such “purely subjective”
limitations that rendered claims indefinitc: “aesthetically pleasing” and “in an unobstructive
manner that does not distract a user,” which were respectively held to render the claims
indefinite in Dammize, 417 F.3d at 1349-54, and ]nterval Licensing LLC v. AOL, Inc., 766 F.?>d
1364, 1368-74 (ch. Cir. 2014). Sonz`x, 2017 WL 56321 at "‘6. The Som'x Court held, on the
other hand, that the term “visually negligible” is not a purely subjective term because it “involves
what can be seen by the normal human eye. This provides an objective baseline through which
to interpret the claims.” Id.

The “substantially uniform crosslinks” limitations involved in this case are far more
analogous to the “visually negligible” limitation in Sonix than to the “aesthetically pleasing” and
“in an unobstrusive manner” limitations in Datamize and Interval Lz‘censz'ng. The non-
precedential district court decision from other jurisdictions upon which RB relies, do not involve
analogous claim language, were all decided before the Federal Circuit’s Som`x decision, and do

not provide persuasive authority for this ease.

Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 20 of 74 Page|D #: 3234

D. RB’s Response To Ansell’s Discussion Of SoniX Decision
Ansell devotes almost two pages of its reply to a detailed discussion of the Federal
Circuit’s recent Som`x decision Ansell’s focus is misplaced That case did _i_i_t_)_t in any way
change or even significantly develop the law of indefiniteness, and it concerned a different
patent, in a different technical field, with a different prosecution history, a different
specification, and different disputed claim terms. The Federal Circuit itself made clear the
limited scope of its holding when it explained:
Our holding in this case does n_ot mean that the existence of examples in the
written description will always render a claim definite, or that listing
requirements always provide sufficient certainty. Neither does the fact that

an expert has applied a contested claim term without difficulty render a
claim immune from an indefiniteness challenge As always, whether a

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claim is indefinite must be judged “ln light of t_;_he specification and
prosecgtion hi_storv” of the patent in Which it appears We simply hold

that “visually negligible” is not a purely subjective term and that, on this
record, the written description and prosecution history provide sufficient
support to inform with reasonable certainty those skilled in the art of the
scope of the invention.

Sonix, 20l 7 WL 56321 at *8 (internal citation omitted) (emphasis added).

ln this case, claim terms such as “substantially uniform” crosslinks, “substantially
uniformly distributed” crosslinks, a “substantially conchoidal fracture” and a molecular weight
of “less than about X g/mol” are indefinite n_o_t_ because they use terms of degree that are
inherently indefinite, but rather because, despite having used terms of degree in the claims, the
inventors failed to provide any objective guideposts in the specification or otherwise that would
have allowed a person of ordinary skill in the art at the time of the invention to determine the
objective scope of the claims to a reasonable degree of certainty See Nautz`lus, Inc. v. Bz`oSz`g
Instrumems, Inc., 134 S. Ct. 2120, 2128 (2014). In stark contrast, such objective guideposts

were present throughout the patent in the Som`x case.

Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 21 of 74 Page|D #: 3235

II. DISPUTED CONSTRUCTIONS
CLAIM TERM NO. 12 “SYNTHETIC POLYISOPRENE PARTICLES THAT ARE PRE-

VULCANIZED” (’412 patent, claims 1, 2, 3, 4, 8 and 9; ’7 19 patent, claims 1, 8, 10, 11, 16
and 17).

Ansell’s Pronosed Construction: Synthetic polyisoprene particles that have had some amount
of cross-linking prior to the clipping of a former into the latex emulsion.

RB’s Pronosed Construction: This term is indefinite lt is unclear what would constitute a
sufficient level of pre-vulcanization to produce “substantially uniform crosslinks” and/or the
other claimed features l\/loreover, it is unclear how a person of ordinary skill in the art could
make an objective determination as to whether a sufficient level of pre-vulcanization has been
achieved. lt also is unclear whether the inventors were using a specialized definition of “pre~
vulcanized” that they failed to adequately disclose in the specification Thus, when this term is
read in light of the specification delineating the patent, and the prosecution history, it fails to
inform, with reasonable certainty, those skilled in the art about the scope of the invention

Were the Court: to determine that the term is definite, then it should be construed as “Particles

subjected to a pre-vulcanization process that, among other things, applies a temperature that is in
excess of 22 degrees Celsius.”

Ansell’s OQening Position:

Ansell does not believe that there is any serious dispute that in the context of dip-formed
latex articles such as are the subject of the patents-in-suit, the term “pre-vulcanized” means
“cross-linking prior to the clipping of a former into the latex emulsion.” lndeed, RB does not
specifically define “pre-vulcanized” at all in its alternative proposed construction, but uses the
very term “pre-vulcanization.” RB’s indefiniteness argument is grounded on two flawed
premises First, RB suggests that this claim term requires a certain level of pre-vulcanization,
but nothing in the claim language supports such a requirement RB then posits that the claim
language is indefinite because it is unclear how a person of ordinary skill could make an
objective determination as to whether such a sufficient unrequired level cf pre-vulcanization

has been achieved This claim term is by no means indefinite

Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 22 of 74 Page|D #: 3236

RB’s Answering Position:

All of the asserted claims in the ’412 and ’719 Patents expressly require “synthetic
polyisoprene particles that are pre-vulcanized.” Generally speaking, pre-vulcanization is the
application of heat to a sulphur-treated latex emulsion that causes sulphur crosslinks to form
inside individual particles of rubber or their synthetic equivalents (See Potter Decl. (App. V
hereto) at 1111 37-40.) These types of crosslinks are called _i_nt_ra-particle crosslinks, and any
amount of pre-vulcanization will result in at least some them forming inside the particles (See
id., at 11 39.) As such, Ansell’s proposed construction essentially is that any degree of pre-
vulcanization will do. Yet, the exact opposite is true based on the teaching in the specification in
the Patents-in~Suit.

As an initial mater, the inventors of the Patents-in~Suit went out of their way to disclaim
and disavow a certain degree of pre-vulcanization as being insufficient for the purposes of thLir
invention Specifically, the inventors disclaimed and disavowed the degree of pre-vulcanization
(and hence the degree of intra-particle crosslinking) disclosed and claimed in UK patent
application GB 2,436,566 (the “GB Patent”), which was incorporated by reference into the
specification of the Patents-in-Suit. (See ’412 Patent, Col. 4, lines 11-24; Col. 17, lines 24-28.)4
The inventors of the Patents-in-Suit went so far as to say that the GB Patent “teaches away from
pre-vulcanization” as they used that term in the Patents-in-Suit. (Id,, at Col. 4, lines 22-24
(emphasis added).)

The GB Patent is owned by one of RB’s corporate affiliates and discloses the method by

which the accused products in this case are made. lt teaches minimizing (z`.e., controlling) the

 

4 The Patents-in-Suit share the same specification Except where a particular issue relates

to a different patent, representative citations to the Patents-in-Suit will be made with reference to
the ’412 Patent, which is first of the Patents-in~Suit to issue.

_10_

Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 23 of 74 Page|D #: 3237

degree of pre-vulcanization but not eliminating it altogether, by using a “low temperature” that
the GB Patent explicitly defines as “several degrees 0C below ambient or room temperature
(25°€),” or about 22°C. (See GB Patent, Claim 1 and p. 5, lines 14~21, Potter Decl., Ex. A.)
Thus, Ansell’s proposed construction is wrong for at least the reason that the limitation
“synthetic polyisoprene particles that are pre-vulcanized” cannot be construed to include the
degree of pre-vulcanization taught by the GB Patent - i.e. , the degree achieved at about 220€ or
less ~ which was disavowed by the inventors in the Patents-in-Suit, See Day Inz"l, Inc. v. Reeves
Bros., Inc., 260 F.3d 1343, 1349 (Fed. Cir. 2001) (holding that the patentee had disavowed
curing done at the higher conventional curing temperatures, because of representations to the
patent examiner that the prior art curing temperatures were too high and because of the numerous
references to a “low temperature cure” or “low temperature vulcanization”); Poly-Am., L.P. v.
API Indus., ]nc,, 839 F.3d 1131, 1136 -(Fed. Cir. 2016) (“While disavowal must be clear and
unequivocal, it need not be explicit. For example, an inventor may disavow claims lacking a
particular feature when the specification distinguishes or disparages prior art based on the
absence of that feature.”); Rheox, Inc. v. Em‘czcr, Inc., 276 F.3d 1319, 1326~27 (Fed. Cir. 2002)
(excluding even a preferred embodiment disclosed in the specification from the scope of the
claims where the inventors disclaimed that claim scope by distinguishing their invention from
the prior art by amending the claims).

More importantly, the specification in the Patents-in-Suit repeatedly teaches that the
degree of pre-vulcanization is critical to the invention working lndeed, as explained by the
inventors, “the invention relates to producing synthetic polyisoprene articles and method therefor
with improved inter particle and intra particle bond using controlled pre-vulcanized particles

of synthetic latex that is dip formed into a thin latex article from an aqueous latex emulsion.”

..11_

Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 24 of 74 Page|D #: 3238

(See ’412 Patent, Col. l, lines 16~20 (emphasis added).) As noted above, pre-vulcanization is
largely responsible for the crosslinking that occurs in the infra-particle regions inside the
particles, whereas the Patents-in»Suit suggest that post-vulcanization (referred to in the claims as
curing) is responsible for the formation of crosslinks between the particles, or inter-particle
crosslinks (See ’412 Patent, Col. 10, lines 47-51; Col. 12, lines 57-64; Potter Decl., 11 39.) As
such, in order to get the desired film properties, and hence the desired physical properties of the
finished article, the Patents-in-Suit teach that the claimed invention requires monitoring and
controlling of the degree of pre-vulcanization and then balancing that with the level of post-
vulcanization so that the film in the finished article has a uniform balance of pre-vulcanization
intra-particle crosslinks and post-vulcanization inter~particle crosslinks5 (See e.g., ’412 Patent,
Abstract, Col. 4, line 66 to Col. 5, line 2, Col. 6, lines 9-13, Col. 9, lines 11~30, Col. 12, lines 57-
64; Potter Decl., fill 34-60.)

Consistent with what they taught in their specification, the inventors also explained to the
European Patent Office in connection with the prosecution of their counterpart European
application that:

According to the present invention, the infra-polyisoprene particle
crosslinks and the inter-polyisoprene particle crosslinks are
uniform. This uniformity is achieved by monitoring and
controlling the pre-vulcanization and controlling the post-
vulcanization,” and “[ajpplicants have found out that controlling
the pre-vulcanization as described in the present invention, and
controlling the post-vulcanization as usual, the claimed uniformity
between lmra-polyisoprene particle crosslinks and inter-particle

crosslinks is obtained Due to the uniformity obtained, excellent
tensile properties are achieved

 

As one of the named inventors (Dr. David Lucas) testified,

    

(See Lucas Dep. Tr., p. 77, lines 11~15 (emphasis
added), Potter Decl., Ex. C.)

...12_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 25 of 74 Page|D #: 3239

(See, e.g., Office Action Response dated 04/15/2016, pp. 6, '7 (emphasis in original), Potter
Decl., Ex. D.)

With respect to control, and as foreshadowed by the GB Patent, the Patents-in~Suit teach
that the degree of pre-vulcanization is primarily a function of temperature overtime (See, e.g.,
’412 Patent, Col. 6, lines 5-9, Col. lO, lines 57~63.) As for monitoring (i.e., knowing When pre-
vulcanization has resulted in sufficient intra-paiticle ci‘osslinking), the Patents-in-Suit teach that
“the present invention provides a surfactant-stabilized, pre-vulcanized, synthetic polyisoprene
latex composition having a isopropanol index rating of 3.0. The isopropanol index test
measures the extent of pre-vulcanization of synthetic latex particles . . .” and “[t]he pre-
vulcanization is monitored to assure that the synthetic latex emulsion is ready for clipping of
polyisoprene condoms.” (See, e.g., id., at Col. 9, lines 11-30 (ernphasis added).)

l\/lonitoring and controlling the level of pre-vulcanization, and then balancing that degree
with the degree of post-vulcanization, according to the Patents-in-Suit, results in a film structure
having various physical characteristics, such as the claimed substantially uniform inter-particle
and intra-particle crosslinks (See z`d., at Col. 6, lines 55-63, Col. l6, line 43 to Col. 17, line 12.)
In other words, the degree of pre~vulcanization, and hence the amount of intra-particle
crosslinking that occurs during pre-vulcanization, is of critical importance to the invention
working as intended by the inventors, and, therefore, that degree limits the claimed invention
See On Demarid Machine Corp. v. Ingram Indus., Inc., 442 F.3d 1331, 1344 (Fed. Cir. 2006)
(“Although we agree with the district court that each term standing alone can be construed as
having varying degrees of breadth, each term must be construed to implement the invention
described in the specification . . . . Cai'e must be taken lest word-by-word definition, removed

from the context of the invention, leads to an overall result that departs significantly from the

_13-

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 26 of 74 Page|D #: 3240

patented invention.”); Renz'shaw PLC v. Marposs Socz'eta ’ per Azioni, 158 F.3d 1243, 1250 (Fed.
Cir. 1998) (“Ultimately, the interpretation to be given a term can only be determined and
confirmed with a full understanding of what the inventors actually invented and intended to

3

envelop with the claim,’ and “[a] claim construction is persuasive, not because it follows a
certain rule, but because it defines terms in the context of the whole patent.”).

Despite the importance of the degree of pre-vulcanization to defining and implementing
the claimed invention, nowhere do the claims at issue ever indicate what that degree should be.
This renders the scope of the claims indefinite because the limitation “synthetic polyisoprene
particles that are pre-vulcanized” is open~ended and uncleai'. lt is a functional limitation that
indicates a sufficient level of intra-paiticle crosslinl<ing has occurred to get the desired film
properties Yet, it is entirely unclear what would constitute a sufficient level of pre-vulcanization
to produce “substantially uniform crosslinks” and the other claimed features, and it is unclear
how a person of ordinary skill in the art could make an objective determination as to whether a
sufficient level of pi'e-vulcanization has been achieved

lndefiniteness is a question of law. See Teva Pharm. USA, Inc. v. Sandoz, Inc., 789 F.3d
1335, 1341 (Fed. Cir. 2015); see also S3 Inc. v. NVIDIA Corp., 259 F.3d 1364, 1367 (Fed. Cir.

, 2001) (“The question of whether the claims meet the statutory requirements of § 112 11 2 is a
matter of construction of the claims, and receives plenary review on appeal.”); Personalz'zed
Medz`a Commc’ns, LLC v. Int’l Trczde Comm’ri, 161 F.3d 696, 705 (Fed. Cir. 1998) (“A
determination of claim indefiniteness is a legal conclusion that is drawn from the couit’s
performance of its duty as the construer of patent claims.”). The requirement is statutory ~ z'.e.,
35 U.S.C. §112 1[ 2 provides that a patent must “conclude with one or more claims particularly

pointing out and distinctly claiming the subject matter which the applicant regards as [the]

..14_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 27 of 74 Page|D #: 3241

invention.”6 This means that the claims perform a notice function, similar to the metes and
bounds in a deed to land. See, e.g., Corning Glass Works v. Sumz`iomo Elec. U.S.A., Inc., 868
F.2d 1251, 1257-58 (Fed. Cir. 1989) (“A claim in a patent provides the metes and bounds of the
right which the patent confers on the patentee to exclude others from making, using, or selling
the protected invention.”). As with a deed to land, patent claims must tell the public, With
reasonable certainty, what subject matter is, and is not, covered by the claims See Nauz,‘ilus, 134
S. Ct. at 2129.

Thus, a claim is indefinite under § 112 (and has failed to “particularly point out and
distinctly claim” the invented subject inatter) if its language, “read in light of the specification
delineating the patent, and the prosecution history, fail to inform, with reasonable certainty, those
skilled in the art about the scope of the invention.” Id. The standard “mandates clarity” in patent
claims Id. “[T]he definiteness inquiry trains on the understanding of a skilled artisan at the time
of the patent application, not that of a court viewing matters post hoc.” Id. at 2130. “ln
assessing `definiteness, claims are to be read [by a person of ordinary skill] in light of the patent’s
specification and prosecution history.” Id. at 2128. “Definiteness is measured from the
viewpoint of a person skilled in [the] art at the time the patent was filed.” ld. (inteinal citations
omitted, emphasis in original). As a result, to be valid under the definiteness requirement, “the
claims, when read in light of the specification and the prosecution history, must provide

objective boundaries” such that those skilled in the art are informed about the scope of the

 

6 35 U.S.C. § 112 was amended in 2012 by the America lnvents Act (AlA). The AlA
applies to patents with effective filing dates on or after September 16, 2012. Beeause the
Patents-in-Suit claim to have effective filing dates before then, RB refers to Pre~AlA 35 U.S.C.
§112 throughout this motion. Nevertheless, the differences between Pre-AIA §112, 1[ 2 and Post-
AIA § ll2(b) are inconsequential for the purposes of this motion.

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Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 28 of 74 Page|D #: 3242

invention with “reasonable certainty.” See Ini‘erval Lz'censz`n.g, 766 F.3d at 1371 (einphasis
added).

Applied here, there is no question that the limitation “synthetic polyisoprene particles that
are pre-vulcanized” is indefinite First, it is clear that the degree of pre~vulcanization taught by
the GB Patent is not enough The inventors in the Patents“in-Suit said so in the specification
(See ’412 Patent, Col. 4, lines 11-24; Col. 17, lines 24~28.) But how much pre~vulcanization
above what is taught by the GB Patent is enough? Despite the fact that monitoring and
controlling the level of pre-vulcanization is critical to the invention working as intended by the
inventors, the Patents»in-Suit are completely silent on this key question. This renders the scope
uncertain And, because the degree of pre-vulcanization (_i_n_t@-particle crosslinks) has to be
balanced with the degree of post-vulcanization (igte___r-particle crosslinks) just the right amount
of both types of vulcanization is needed to get the desired results - i.e., substantially uniform
intra-particle M inter-particle crosslinks Thus, there must be some upper limit of pre-
vulcanization after which there is too much pre-vulcanization otherwise the desired balance will
be off and the crosslinks will not be uniform. But how much is too much‘? Again, the Patents-
in-Suit do not say despite the inventors teaching of the criticality of monitoring and controlling
the level of pre-vulcanization and balancing it with the degree of post-vulcanization.

This lack of clarity is made all the more problematic by the fact that the specification
limits the “present invention” to materials having “a isopropanol index rating of 3.0.” (See,
e.g., id., at Col. 9, lines 11-30 (emphasis added)); GPNE Corp. v. Apple Inc., 830 F.3d 1365,
1371 (Fed. Cir. 2016) (“‘When a patent . . . describes the features of the ‘present invention’ as a

whole, this description limits the scope of the invention”) (emphasis added) (quoting Verz`zon

_15_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 29 of 74 Page|D #: 3243

Servs. Corp. v. Vonage Holdz`ngs C()rp., 503 F.3d 1295, 1308 (Fed. Cir. 2007)). As the Patents-
in-Suit explain:

The isopropanol index test _r__neasures the extent of pre-
vulcanization of synthetic latex particles in an aqueous latex
emulsion by combining equal volumes of latex and isopropanol at
room temperature and allowing the mixture to stand for 3 min.
The isopropanol coagulates the latex, and the resulting consistency
is numerically rated. The consistency of the coagulum indicates
the degree of pre-vulcanization of the latex. As the latex becomes
more pre-vulcanized, the coagulum loses more of its tackiness
and becomes more crumbly_. A rating of 2.5 indicates that Lall
lumps form, whereas a rating of 3.0 indicates that the lumps are
non-tacky, a rating of 3.5 indicates that, not only are the lumps
non-tacky, the lumps disintegrate easily, and a rating of 4.0
indicates that dry crumbs form, evidencing a high degree of pre-
vulcanization of the synthetic latex particles The pre-
vulcanization is monitored to assure that the synthetic latex
emulsion is ready for clipping of polyisoprene condoms.

(See, e.g., ’412 Patent, Col. 9, lines 11-30 (emphasis added).)

By limiting the scope of their invention to this test, the inventors relegated their invention
to one that can only be confirmed through the use of a test that depends on the subjective tactile
and visual perception of the person conducting the test as to how t_z_r_gl;ry or crumbly_ the material
feels, and whether §_n_ia_ll lumps form and disintegrate _eir_s_ily. (See, e.g., id., at Col. 9, lines 11-
30; Potter Decl., 111 45, 62-68). ln other words, a subjective test that can vary depending on the
subjective sensibilities of the person conducting the test. _
_ <See nice Dep. rr-., p.
181, line 9 to p. 186 line 12, Potter Decl., Ex. C; Narasimhan Dep. Tr., p. 222, line 18 to p. 223,
line 15, Potter Decl., EX. B.) lndeed, when asked if it is a subjective test Dr. Narasimhan,-
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_17_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 30 of 74 Page|D #: 3244

_ see
Narasimhan Dep. Tr., p. 223, lines l4-l5, p. 221, lines 3-12, Potter Decl., Ex. B.) In other
words, it is all guesswork and there no way to objectively know the answer.

Thus, the failure to expressly define “pre-vulcanization” or at least to explicitly claim the
degree of pre~vulcanization required, and the corresponding failure to disclose any objective way
for a person of ordinary skill in the art to determine when that degree of pre~vulcanization has
been achieved, renders the claims indefinite There is no way for a person of ordinary skill in the
art to know what degree of pre-vulcanization is within or without the scope of the claims, and the
inventors limited their “present invention” to the use of a subjective test to make that
determination This claim limitation does not inform, with reasonable certainty, those skilled in
the art about the scope of the invention, and is therefore the claims in which is appears are
indefinite as a matter of law.7 (See Potter Decl., THI 62-68); see Naurz`lus, 134 S. Ct. at 2129; See

also laterval Licensz'ng, 766 F.3d at 1371-73 (“As we have explained, a term of degree fails to

 

7

With respect to the asserted claims in the ’027 and ’029 Patents that do not expresle
require “synthetic polyisoprene particles that are pre-vulcanized,” it should be noted that the
“present invention” disclosed in all four of the Patents~in~Suit is “predicated” on the use of
pre~vulcanization to generate intra-paiticle crosslinks, and then balancing that with the degree of
post-vulcanization or curing to generate inter~particle crosslinks and the other claimed film
properties of the latex article (See, e.g., ’027 Patent, Col. 8, lines 36-41; Col. 9, lines ll-l3, 39~
50; Col. lO, lines 55-59; Col. l, lines 20-24). There is no disclosure in the Patents-in-Suit of any
way to arrive at the various film properties of the “present invention” without pre-vulcanization.
Thus, either the claims in the ’027 and ’029 Patents also must be construed by the Court to‘
require “synthetic polyisoprene particles that are pre-vulcanized,” or they are invalid under the
enablement and/or written description requirements Depending on the Court’s treatment of
these claims during claim construction, RB will raise this issue later, at the appropriate stage Of
the case.

_13_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 31 of 74 Page|D #: 3245

provide sufficient notice of its scope if it depends ‘on the unpredictable vagaries of any one
person’s opinion. ”’).8

Ansell’s Reply Position:

As the lead inventor Dr. Lucas9 testified, _
_ m Dep. n <App. vi haas at 159:5~7. res

expert has testified that he “agreed that the term ‘pre-vulcanisation’ has a special technical
meaning in the field of natural rubber and synthetic latex barrier article manufacturing.” Potter
Dep. Tr. (App. Vll hereto) at 78:2-13. As to that meaning, RB’s expert, Dr. Potter, has testified

as follows:

“Pre-vulcanisation means that intra-polyisoprene particle
crosslinks have been formed during the pre-vulcanisation stage in
the manufacturing process At this stage, all the crosslinks are
within the particles which remain dispersed in the water phase.”

Ia'. at 79:14-80:5 & Potter Ex. ll (App. Vlll hereto) atj[ 16.

 

8 lf the Court disagrees, the construction of this limitation should at least take account of

the disavowal of the degree of pre-vulcanization taught by the GB Patent, such that it should be
limited to “particles subjected to a pre-vulcanization process that, among other things, applies a
temperature that is in excess of 22 degrees Celsius.” This would not resolve the ambiguity with
the objective ceiling for pre~vulcanization, but it is at least consistent with the floor set by the
inventors’ disavowal of the degree of pre-vulcanization taught in the GB Patent.

9 RB’s expert, Dr. Potter, has acknowledged the convention in U.S. patent practice that the
lead inventor is named first Potter Dep. Tr. (App. Vll hereto) at 6211-4. RB makes much of the
statement by Dr. Narasimhan that Dr. Lucas, however,
has made clear that Lucas Dep.
Tr. A . VI hereto at 64:1-2. In fact both Dr. Lucas and Dr. Narasimhan have testified

  
      
  
 
 
 

 
   

Id. at 44:16-

   

18; 54:15-55:2.

  
     
 
 
 

Id. at 55:3-17. Although Dr.
Narasimhan, as a patent agent, was involved in the drafting of the patents, there are some
concepts in the patent that he didn’t fully understand He is not an expert in rubber chemistry.
Id. at 179:23-180:23. lndeed, from a review of his CV (App. IX hereto), it is apparent that Dr.
Narasimhan is not a person of ordinary skill as defined by Dr. Potter at paragraph 61 of his
Declaration.

_19_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 32 of 74 Page|D #: 3246

“Crosslinking prior to dipping causes crosslinks to form within

discrete rubber particles and the crosslinks are known as intra-

particle crosslinks This process is known as pre-vulcanization.”
Id. at 81 :24-82:14 & Potter Ex. 7 (App. X hereto) at 30, jj 29.

“During a pre-vulcanisation reaction, cross~linking only occurs

between polyisoprene chains contained within the same rubber

paiticles, i.e., “intra particle cross-linking”. No cross-linking

occurs between polyisoprene chains that are contained in different

rubber particles Thi's is because the distance between the rubber

particles in the latex phase is too great to enable such cross-linking

to occur.
]d. at 83:2-84:5 & Potter Ex. 19 (App. Xl hereto) at jj 32.
Dr. Potter has further testified that:

“[a]s of l\/lay 2008, a skilled person would be able to tell if a latex

has been pre-vulcanised by conducting one of the routine industry

tests e.g. the chloroform test, a swelling test or the PRM test.”
1a ar 30;24-2;1;8 a EX. ii (App. viii herein a j ia

RB’s argument that “pre~vulcanization” should be construed as a “process that . . .

applies a temperature that is in excess of 22 degrees Celsius” is unsupported by the claim
language, unsupported by the speciication and unsupported by Dr. Potter’s testimony. RB’s
disavowal argument is not well grounded RB cites Poly-Arn., 839 F.3d 1131 to support its
“disavowal” argument Poly~Am. makes clear, liowever, that “the standard for disavowal is
exacting, requiring clear and unequivocal evidence that the claimed invention includes or does
not include a particular feature * * "" Ambiguous language cannot support disavowal.” 839

F.3d at 1136. Moreover, Poly-Am. involved a physical feature, not a process limitation There is

unquestionably no unambiguous language that Ansell disavowed a degree of pre-vulcanization

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Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 33 of 74 Page|D #: 3247

“achieved at about 220 C or less.”lo To the contrary, the specification expressly contemplates
pre»vulcanization “in the range of 20° C to 30" C,” Specification, col. 6, lines 8-9, and that range
is expressly claimed in claim 25 of the ’412 Patent.

As Ansell never disavowed prevulcanization at less than 22° C, this case is not at all
analogous to Day lm"l, 260 F.3d 1343, wherein the Court found “that arguments made by the
patentee during the prosecution of the [subjectj patent limited the scope of the invention to
processes which involve an initial curing at ‘low temperatures,’ namely at 110-170 degrees F.”
Id. at 1348. Rheox, 276 F.3d 1319, is completely inapposite as it involved a circumstance in
which the claim in issue had been amended so as to exclude a preferred embodiment Id. at
1326.

RB, for the first time in its answering claim construction brief, makes an argument
regarding a statement in the specification that the invention “provides a surfactant~stabilized,

pre-vulcanized, synthetic polyisoprene latex composition having an isopropanol index rating of

 

10 Ansell did not “disavow” the amount of “pre-vulcanization” disclosed in the GB566

patent application Rather, Ansell merely noted in the specification that GB566 “discloses
minimizing pre-vulcanization of polyisoprene latex.” Specifrcation, col. 4, lines 11-12. This
statement is clearly supported by GB566 wherein the inventors noted that:

“[I]n all previously described processes, some degree of
prevulcanisation is introduced into the latex. "‘ * * We have
found that the drawbacks of the prior art processes outlined above
can, surprisingly, be overcome or substantially reduced by
controlling the amount of prevulcanization of the latex to very low
levels. We have found this can be achieved by cooling the latex to
a temperature such that very little, or substantially no,
prevulcanisation occurs.°’

Potter Declaration (App. V hereto), Ex. A at 4:24-5:16. The presence of pre-vulcanized particles
is not the sole limitation of any asserted claim in this case.

_21_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 34 of 74 Page|D #: 3248

3.0”ll This is not a limitation found in any of the asserted claims of the Patents-in-Suit, and
neither in its identification of claim terms and proposed construction (which RB was required to
serve by October 14, 2016) nor in the Joint Claim Chart filed on November 16, 2016 (D.I. 99),
did RB propose either directly or in the alternative that any claim term be construed to have this
limitation12 Nor has RB moved for leave to belatedly assert any such untimely proposed

construction (which motion would have to satisfy Fed. Rule Civ. P. 16, see Meda
Pharmaceutz'cals Inc. v. Tei)a Phar'maceuticals, Inc., No. 15~785~LPS (D. Del. Nov. 14, 2016)
(App. Xlll hereto) at 2.13 Additionally, as RB has now recognized with respect to Claim Term

No. 8, RB’s arguments regarding the level of pre-vulcanization needed to produce “substantially

 

11 The isopropanol index text is described in detail in the specification of the patents-in-suit.

Specification, col. 9, lines 14-30. RB’s expert Dr. Potter has affirmed that “[t]he isopropanol
index test as described in the patent is very similar to the industry standard chloroform test that is
very widely used by [Dr. Potter] and others to assess the degree of pre-vulcanization of natural
rubber latex. Although [Di'. Potter has] not used the isopropanol index test, [Dr. Potter]
understand[s] that it is a modification of the standard chloroform test (isopropanol is less toxic
than chloroform) and gives very similar results. The description of the index ratings are very
similar for both tests (the patent provides descriptions for fractional indices, e.g. 3.5, whereas the
chloroform test commonly uses integer indices). The test provides a direct measure of pre-
vulcanization and is routinely performed by manufacturers of dip-formed latex articles because it
is a quick and inexpensive test to perform.” Potter Dep. Tr. (App. Vll hereto) at 25:17-27:18 and
Potter Ex. 7 (App. X hereto) at 11 30. The use of the isopropanol index test is also an express
limitation of unasseited claim 26 of the ’412 Patent.

12 Ansell notes that RB did propose in the alternative, in both documents, that this limitation
should be construed as “[p]articles subject to a pre-vulcanization process, that among other
things, applies a temperature that is in excess of 22 degrees Celsius.”

13 Moreover', the Federal Circuit has made clear that the use of the phrase “present
invention” or “this invention” does not limit the scope of the entire invention “where the
references to a certain limitation as being the ‘invention’ are not uniform, or where other portions
of the intrinsic evidence do not support applying the limitation to the entire paten .” Absoluz‘e
Sofz‘ware, [nc. v. Sl‘eall‘h Sl`gnal, Inc., 659 F.3d 1121, 1136-37 (Fed. Cir. 2011). Claim 26 of the
’412 Patent includes a limitation whereby the degree of prevulcanization is required to be
verified by an isopropanol index test, but even that claim does not require an isopropanol index
value of 3.0.

-22_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 35 of 74 Page|D #: 3249

uniform cross-links” is an enablement argument going to the sufficiency of the disclosure in the
specification not an indefiniteness argument Enablement defenses are for the jury at trial, not a
matter of claim construction

RB also makes another first-time argument, by footnote only, to the effect that some
unspecified claim term of the asserted claims of the ’027 and ’029 Patents “must be construed by
the Court to require ‘synthetic polyisoprene particles that are pre-vulcanized.’ ” This contention
by footnote need not be addressed in this reply. First, the Federal Circuit has made clear that
“arguments raised in footnotes are not preserved.” Smi`thKlineBeecham Corp. v. Apotex Grp.,
439 F.3d 1312, 1320 (Fed. Cir. 2016). Second, it is not a claim construction timely proposed by
RB_M

Ansell respectfully submits that the term “synthetic polyisoprene particles that are
prevulcanized” is not indefinite and should be construed as “synthetic polyisoprene articles that
have had some amount of cross-linking prior to dipping.”

RB’s Sur-Regly Position:

Ansell simply ignored RB’s indefiniteness arguments concerning this teim, instead
electing to focus its entire reply on why it disagrees with RB’s alternative construction Thus,
while Ansell’s proposed construction is that any degree of pre-vulcanization will do, if the Court
disagrees and thinks understanding the degree is critical, Ansell has offered no defense to the
charge that the term is indefinite

Ansell is demonstrably wrong about this. The Patents-in~Suit repeatedly teach that the

degree of pre-vulcanization is critical to the invention working, and that monitoring and

 

14 Moreover, “the method of manufacture, even where cited as advantageous, does not of
itself convert product claims into claims limited to a particular process . . . . ” Vanguard Prods,
Corp. v. Parker Hanm`jin Corp., 234 F.3d 1370, 1372 (Fed. Cir. 2000).

_23_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 36 of 74 Page|D #: 3250

controlling the degree of pre-vulcanization and then balancing that with the level of post-
vulcanization is precisely what creates a film in the finished article with the claimed features,
including substantially uniform crosslinks (See ’412 Patent, Abstract', Col. l, lines 16-20; Col.
4, line 66 to Col. 5, line 2, Col. 6, lines 9-13, Col. 9, lines ll-30, Col. 12, lines 57-64.) That is to
say, if there is too little pre-vulcanization the patents teach “crosslinking predominantly occurs in
the periphery of.the synthetic polyisoprene particles, resulting in weak particles.” (Id. at Col. 12,

' lines 57-60.) lf there is too much pre-vulcanization it will result “in over crosslinking of the
intra-particle regions, which, in turn, results in a latex product with poor stretch properties.” (Id.
at Col. 12, lines 60-64; see also Office Action Response dated 04/15/2016, pp. 5~6, Potter Decl.,
Ex. D (discussing Figures in Tangiboriboonrat reference and indicating that too much pre-
vulcanization results in over crosslinking of intra-particle region, “non-uniformity of intra-
particle crosslinks and inter-particle crosslinks” and “hardening” particles that “is to be avoided
according to the present invention.”).)

Thus, while it is clear that not just any degree of pre-vulcanization will do, the asserted
claims never indicate what the degree should be. As a result, this claim limitation is indefinite
because it leaves one to guess about where its scope begins and ends, thus failing to inform, with
reasonable certainty, those skilled in the art about the scope of the invention15 See Nautz`lus, 134

S. Ct. at 2129; Imterval Licensz'ng, 766 F.3d at l37l-73.

 

15 With respect to the isopropanol index test, Ansell misapprehends RB’s argument RB
does §§ contend that the asserted claims are limited to any particular score on that test. RB’s
point is that the lack of definiteness with respect to the required degree of pre-vulcanization “i_§
made all the more problematic” by the fact that the only method the inventors disclosed to
measure the degree is the isopropanol index test, which everyone agrees depends On the
subjective judgment of the person conducting it. (See Lucas Dep. Tr., p. 181, line 9 to p. 186
line 12, Potter Decl., Ex. C; Narasimhan Dep. Tr., p. 222, line 18 to p. 223, lines 14-15, Potter
Decl., EX. B.)

_24-

Case 1:15-cV-00915'-RGA Document 126 Filed 02/08/17 Page 37 of 74 Page|D #: 3251

lf the Court disagrees, then at least there should be no question that the inventors
disavowed the degree of pre»vulcanization taught in the GB Patent. While Ansell argues that it
“merely noted” that the GB Patent teaches minimizing pre-vulcanization, it left out the most
important part. (See Ansell Reply, p. 21 n. 10.) That is, the part where the inventors explicitly
and unambiguously stated in the Patents-in-Suit that the GB Patent “ eaehes away from pre~
vulcanization prior to dipping of latex articles.” (See ’412 Patent, Col. 4, lines 22-24 (emphasis
added).) Short of using the word disavow, which is not required under the law, it would be hard
to imagine a clearer way for an inventor to disavow something than to say it “teaches away”
from the very thing he or she thinks was invented See Poly~Am., 839 F.3d at 1136 (disavowal
‘°need not be explicit.”).

'l`he GB Patent “teaches away” from pre-vulcanization by using a “low temperature” that
it explicitly defines as “several degrees 0C below ambient or room temperature (25°(3),” or about
22°C. Thus, the term “synthetic polyisoprene particles that are pre-vulcanized” in the Patents~in-
Suit at least has to be construed so as to exclude the very low degree of pre-vulcanization taught
by the GB Patent and disavowed by the Ansell inventors ~ i.e., the degree achieved at about
22°C or less. This is so even if such a construction would exclude a small portion of the 2()OC to
30°C range disclosed in the Patents-in-Suit because excluding an embodiment “is not a reason to
ignore the specification’s clear and unmistakable disavcwa .” See Pacz'ng Techs., LLC v. Garmz`n
Int’l, Inc., 778 F.3d lO2l, 1026 (Fed. Cir. 2016); see also SciMed Lz'fe Sys. v. Advanced
Cardz`ovascular Sys., 242 F.3d 1337, 1344 (Fed. Cir. 2001) (excluding embodiment that was

otherwise disclaimed in the specification).

_25_

Case 1:15-cV-00915-RGA Document 126 Filed 02/03/17 Page 33 of 74 Page|D #: 3252

CLAIM TERM NO. 2: “THE INTRA-POLYISOPRENE PARTlCLE CROSSLINKS
AND THE INTER-POLYISOPRENE PARTICLE CROSSLINKS ARE
SUBSTANTIALLY UNIFORM” (’412 patent, claims 1, 2, 3, 4, 8 and 9; ’7 19 patent, claims
1, 8, 10,11, 16 and 17).

Ansell’s Proposed Construction: Plain meaning with the word “substantially” meaning “to a
large extent, but not necessarily completely.”

RB’s Proposed Construction: This term is indefinite lt is unclear what would constitute a
sufficient level of uniformity to meet the claim language, and it is unclear how a person of
ordinary skill in the art could make an objective determination as to whether a sufficient level of
uniformity has been achieved Rather, When this term is read in light of the specification
delineating the patent, and the prosecution history, it is clear that determining what is and is not
“substantially uniform” is an entirely subjective exercise such that, the term fails to inform, with
reasonable certainty, those skilled in the art about the scope of the invention
Ansell’s Opening Position:

ln patent law, unless otherwise defined, words will be interpreted as taking their ordinary,
contemporary meaning Momenrs Pharmaceurz`cals, Inc. v. T eva Pharmaceurz`cals USA Inc., 809
F.3d 1366 (Fed. Cir. 2015). This Court has on many occasions adopted plain and ordinary
meaning as the proper construction of disputed claim terms. See, e.g., EMC Corp. v. Pure
Storage, Inc,, 77 F.Supp.3d 402 (D. Del. 2015); Interdz`gz'tal Communz'catz'ons, Inc. v. ZTE Corp.,
No. 13-00009, -00010-RGA, 2014 WL 1620733 (D. Del. Apr. 22, 2014). Indeed, “[i]n the
absence of an express intent to import different meaning to claim terms, the terms are presumed
to have their ordinary meaning.” Technology Innovatz`ons LLC v. Amazon.com, 35 F.Supp.3d
613, 617 (D. Del. 2014) (Emphasis added). There is nothing in the specification of the patents~
in-suit that reflects an express intent to import meaning to this term other than the plain and
ordinary meaning The term “substantially” is commonly used in patent claims to “avoid a strict
numerical boundary to the specified parameter.’ ” Ecolab, Inc. v. Envz`rochem, Inc., 264 F. 3d

1358, 1367 (Fed. Cir. 2001). Thus, the term “substantially” is properly construed as “to a large

extent, but not necessarily completely.” See LNP Erzgz`neerz`ng Plasz‘ics, Irzc. v. Mz'ller Wasze

..26..

Case 1:15-cV-00915-RGA Document 126 Filed 02/03/17 Page 39 of 74 Page|D #: 3253

Mz'lls, lnc., 275 F.3d 1347, 1354 (Fed. Cir. 1999) (“the meaning of the word ‘substantially’ is
‘1argely but not wholly that which is specified.’ ”).

As to purported indefiniteness, RB’s affiliates have admitted that this claimed feature is
present in the accused Durex RealFeel condoms. See Declaration of Thomas B. Kenworthy
(“Kenworthy Claim Construction Decl.”) (App. Xll hereto) at jj 5. Such an admission,
particularly when made against one’s interests, negates any possible contention that clear and
convincing evidence establishes that a skilled artisan would not understand the term and its
scope.

RB’s Answering Position:

All of the asserted claims in the ’412 and ’7 19 Patents require that “the intra-polyisoprene
particle crosslinks and the inter-polyisoprene particle crosslinks are substantially uniform.” This
limitation is indefinite because it is unclear what would constitute a sufficient level of uniformity
to meet the claim language, and it is unclear how a person of ordinary skill in the art could make
an objective determination as to whether a sufficient level of uniformity has been achieved
Rather, when this limitation is read in light of the specification and the prosecution history, it is
clear that determining what is and is not “substantially uniform” is an entirely subjective
exercise such that, the limitation fails to inforrn, with reasonable certainty, those skilled in the art
about the scope of the invention

The Patents-in~Suit teach that the result of monitoring and controlling the degree of pre-
vulcanization, and then balancing that with the degree of post-vulcanization is a film structure
that, when stained with osmium tetroxide and viewed under high magnification resembles the
image in Figure l, which is shown below. (See ’412 Patent, Col. 6, lines 55-63, Col. 16, line 43

to Col. 17, line 12.)

-27_

Case 1:15-cV-00915-RGA Document 126 Filed 02/03/17 Page 40 of 74 Page|D #: 3254

ll

10

13

1 micron

 

According to the Patents~in-Suit, Figure 1:

[thows a transmission electron micrograph of a pre-vulcanized
and post-vulcanized synthetic polyisoprene condom latex taken
from the middle portion of the condom thickness The sample was
prepared using the following procedure Sarnple regions of the
condom sample were taken and extracted in cold acetone overnight
to remove any low molecular weight materials that may
subsequently interfere with the styrene polymerization process.
The samples were then dried for approximately 48 hrs at below 40O
C. to remove any solvent traces. The extracted films were then
swollen overnight in styrene solution containing 1 Wt % benzoyl
peroxide initiator and 2 wt % dibutylphthalate plasticizer to aid
sectioning. The swollen films were then placed in capsules with
excess styrene solution and heated at 700 C. until the styrene had
fully polymerized. The Styrene-swollen, polymerized samples
were sectioned by ultramicrotomy at room temperature By
leaving some polystyrene attached to the surfaces of each condom,
it was possible to prepare ultra-thin sections that contained the
entire width of each condom. The sections were carefully relaxed
by exposure to low levels of xylene vapor and transferred to
Transmission Electron Microscopy (TEM) grids. The sections
were then stained in osmium tetroxide vapor for one hour and
examined by TEl\/l.

(Ia',, at Col. 16, lines 43-64.)

_28_

Case 1:15-cV-00915-RGA Document 126 Filed 02/03/17 Page 41 of 74 Page|D #: 3255

The Patents-in-Suit suggest that Figure 1 evidences a uniform distribution (z'.e., the same
number) of both intra-particle crosslinks (inside the particle) and inter-particle crosslinks
(between the particles) because the degree of dark staining is purportedly uniform throughout the
figure (Id., at Col. 6, lines 55-63, Col. 16, line 43 to Col. 17, line 12.) That is, as explained in
the Patents-in-Suit:

Osmium tetroxide reacts with carbon-carbon double bonds and,
therefore, it imparts a dark stain to polymers containing
unsaturated groups, While leaving the polystyrene unstained. The
figure shows at 10 the original synthetic polyisoprene particles
showing uniform distribution of cross-link networks The
intersection of these particles is shown at ll, and it shows a similar
distribution of cross-link networks indicated by uniformity of dark
stains, indicating that the synthetic polyisoprene latex film is cross-

linked at the synthetic polyisoprene particle level and at
intersections The polystyrene remnants are seen at 13.

([d., at Col. 16, line 64 to Col. 17 , line 9.) The Patents-in-Suit further suggest that “[t]he article
has intra-particle and inter-particle crosslinking and under transmission electron microscopy
(TEM) a uniform distribution of dark stains with a deviation of less than about 5% from one
location to other within the TEl\/l micro graph.” (Id., at Col. 17, lines 18-22.)

These assertions lack objective clarity in several respects First, the entire image in
Figure 1 covers an incredibly small section of the sample film and measures roughly 3 microns
by 5 microns By way of comparison, the thickness of a human hair is about 50 microns lt is
hard to understand what the inventors believe can be determined objectively about the overall
film structure and/or the uniformity cf crosslinks in the entire article by looking at such an
incredibly small sample area within the overall frlm. (See Potter Decl., jj 51.)

Second, crosslinks are not visible in Figure 1. They are simply too small to be seen even
under high magnification, and the dark staining in the image is not cf the crosslinks, but rather
the carbon-carbon double bonds Within the polyisoprene chains This was confirmed by both Dr.

*29_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 42 of 74 Page|D #: 3256

Narasimhan, the named inventor who _ in the Patents~in-Suit

and drafted the specification, as well as his co-inventor, Dr. Lucas. (See Narasimhan Dep. Tr'., p.

47, line 2l to p. 48, line 8, p. 154, lines 3-22, Potter Decl., Ex. B; Lucas Dep. Tr., p. ll2, line 20

to p. ll3, line 7, p. 129, lines l7-24, Potter Decl., EX. C.) And, _

- (See Lucas Dep. Tr., p. 130, lines l-l2, Potter Decl., EX. C; 'Potter Decl., il 52.) This
further begs the question as to how and why the inventors of the Patents-in~Suit think that any
objective observations about crosslink uniformity can be made using Figure l, which, as noted,
does not show or stain the crosslinks (See Potter Decl., 1l 52.) The Patents-in-Suit certainly
provide no objective standard

Third, while the Patents-in-Suit suggest a deviation of less than “Mt” 5% from one
location to other within the TEM micrograph as a possible guidepost to using Figure l to

evaluate uniformity, the use of the term “about” reduces even this possible guidepost to Only a

rough undefined approximation, and Dr. Narasimhan_
_ (see Narasrmhan Dep. Tr., p. 211, line 17 to p. 213, line 17,

Potter Decl., EX. B.) Thus, for example, it is unknown whether 5.5% would be close enough to
iess than “about” 5% such that it would be “substantially” uniform within the meaning of the
claims? Same for 6% or 7%. The Patents~in~Suit do not attempt to provide an answer, and
therefore even the “2_1_1_)0_\1t_” 5% figure in the specification leaves the issue of “substantia ”
uniformity undefined and open to subjective interpretation Indeed, as Dr. Narasimhan _
_
_ (See id., at p. 215, line 20 to p. 2l6, line 5.) As such, using a TEM like the one in

Figure l to try to evaluate the level of uniformity is a wholly subjective exercise that renders the

_30-

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 43 of 74 Page|D #: 3257

scope of the claims uncertain (See id., at p. 183, line 18 to p. 184, line l ; see also p. 209, lines
o-oo _
_ Moo~oove Do Noo~ooeooo _

(See z'd., at p. 186, lines 5~24, p. 209, line 20 to p. 210, line l8; Potter Decl., 153.)

Fourth, Figure l shows a number of “white blobs” or light colored voids, an example of
which is identified as item l3. These white blobs are areas in the ir_r_tg§~particle region of very
low crosslinks density through which the polystyrene Was able to push through during
production of the sample. (See Lucas Dep. Tr., p. llS, line 8 to p. 120, line 6, Potter Decl., EX.
C.) There are at least 15 white blobs visible in Figure l, and each of them represents an area in
which the number of crosslinks in the M~particle region is significantly lower than within the
i_x_r_t_r_a-particle regions inside the individual particles (See id.) Dr. Lucas _
_ (See id., at p. l24, lines l4-16.) In other words, the
white blobs or voids are areas in which the number of crosslinks Within the _i_l_i_t_e__r~particle region

is 1_1_9_§ uniform with the number of crosslinks within the infra-particle region. This further begs

 

the question as to how Figure l and similar images could possibly evidence (objectively or
otherwise) substantially uniform inter-particle and intra-particle crosslinks, and the presence of
the white blobs leaves open the question of how many such areas of “non~uniformity” are
permitted before both types of crosslinks are no longer considered uniform The Patents~in~Suit
do not say, which renders the scope of the claims unclear (See Potter Decl., W 54, 73.)

Fifth, as can be seen from the figure in Paragraph 55 in Dr. Potter’s Declaration, the

purported uniformity of the dark staining that is visible within Figure l varies depending on the

..31..

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 44 of 74 Page|D #: 3258

contrast and brightness levels used in the image. That is, the darker the overall image appears
the more uniform the staining visually appears Yet, the Patent-in-Suit do not disclose what level
of contrast or brightness should be used. (See Narasimhan Dep. Tr., p. 215, lines ll-l9.) The
significance of this issue is apparent when you look at the image in Figure l as it was originally
provided to the inventors by their testing lab. (See Potter Decl., ‘ll 56.) That version of the image
is significantly lighter in contrast and brightness levels than the version of the image in the
Patents-in-Suit, making it appear very different in terms of the uniformity of shading (i.e., less
uniform) from the version of the image that was actually filed with the Patents-in-Suit. Precisely

how or why Ansell manipulated this image in connection with the fling of the patents is unclear,

but Dr. Lucos_

_ (See Lucas Dep. Tr., p. 138, line 5 to p. l47, line 2, Potter Decl., EX. C;

Potter Decl., llll 55~56.)

Given these issues, Ansell may Suggest using other figures in the Patents-in-Suit as
alternative ways to evaluate substantial uniformity of the crosslinks, and in particular Figure 2
(conchoidal fractures at liquid nitrogen temperature) and Figure 5 (absence of particle features at
room temperature). (See Potter Decl,, ll‘ll 57»59; ’4l2 Patent, Col. 6, line 64 to Col. 7, line 9; Col.
7 , lines 40 to 61.) Yet, the Patents-in-Suit do not indicate that these figures show “substantially
uniform” crosslinks, or that crosslinks can been seen in the images. Rather, the discussion about
Figure 2 fails to even mention crosslinks, whereas the discussion of Figure 5 asserts that the
supposed lack of particle features visible in the image means that the inter-particle and intra-
particle regions were either “approximately equal strength g were crosslinked nearly equally.”

(See ial (emphasis added).)

..32_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 45 of 74 Page|D #: 3259

Like with Figure l, using these types of figures to objectively determine anything about
the uniformity of the crosslinks is m)_t possible With respect to Figure 5, the most the Patents-
in~Suit suggests is that the explanation for the purported lack of visible particle features can be
narrowed down to one of two possibilities, either “approximately equal strength” inter and intra
particle regions, “g_r_'” “nearly” equal crosslinking in those regions. Even if “nearly” equal
crosslinking was somehow the same thing as “substantially uniform” crosslinking, which is far
from clear from the inventors’ description in the specification, and even it were clear where the
scope of “nearly” begins and ends, the fact that it is described in the specification as an either or
explanation means that nothing certain about the uniformity of the crosslinking can be
determined from looking at those types of figure. Further, with respect to both types of figures,
Dr. Ne'osimhon _ (S€€ Nal‘asimha“ D@P~
Tr., p. 270, line l to p. 271, line ll, Potter Decl., Ex. B; Potter Decl., ‘llll 59, 77.) He even

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lines 15»19; Potter Decl., ‘llll 59, 77.)

l\/loreover, even if using such figures were helpful and were not subjective, the fact that
there could be multiple ways to test for substantial uniformity is another reason why the scope of
the claims at issue is unclear. The Patents~in-Suit do not indicate what test to use, and using
different tests could lead to inconsistent results, and neither the claims nor the specification

indicate which test should be preferred (See Potter Decl., ll 78). T he Federal Circuit has held

 

16 Perhaps recognizing the problems with these figures, in its infringement contentions, and
in terms of testing, Ansell relied solely on a TEM image of an osmium tetroxide stained sample
like the one shown in Figure l for “substantially uniform” and similar limitations, and did n___o_t_
suggest that images like those in Figure 2 or Figure 5 should or even could be used.

..33_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 46 of 74 Page|D #: 3260

that, under the Naurz'lus standard, this alone can render a claim indefinite See e.g., Dow
Chemical C0. v. NOVA Chemz`cals Corp. (Canada), 803 F.3d 620, 630-35 (Fed. Cir. 20l5) (the
claim term “slope of strain hardening” was indefinite under the churz`lus standard because there
multiple methods to measure the parameter, the methods could give different results, and the
specification did not provide guidance as to which method should be used); Teva, 789 P.3d at
1341~45 (finding indefiniteness under the Naurz'lus standard because there were at least three
ways to measure and report “molecular weight,” each method would produce different results,
and the patent did not give guidance as to which specific method should be used).

At bottom, there simply is no way to objectively understand the boundary where
substantially uniform begins and where it ends. lt is entirely open-ended and a prisoner to the
subjective whim of whomever is making the call. That is the epitome of indefiniteness See,
e.g., lnterval Lz`censz`ng, 766 F.3d at 1371-73 (“As we have explained, a term of degree fails to
provide sufficient notice of its scope if it depends ‘on the unpredictable vagaries of any one
person’s opinion.”’).

This problem is exacerbated by the fact that not only is assessing the claim term
“uniform” subjective in the context of the Patents-in-Suit, but its requirement is further modified
by the inherently subjective term c‘substantially,” which introduces an additional level of
uncertainty as the to the scope of the claims17 That is, it is entirely unclear how uniform it
would have to be in order to qualify as “substantially” uniform, or how non-uniform it would

have to be before it ceased to be “substantially” uniform That is the very definition of an

 

17 lt is noteworthy that during the prosecution of the European counterpart to the Patents-in-
Suit, the European patent office rejected the claims that included the term “substantially
uniform” as lacking clarity (which is analogous to indefiniteness under U.S. patent law), and the
inventors attempted to overcome that rejection by deleting the term “substantially” from the
proposed claims (See EU Office Action dated 10/07/2011, p. 3, Potter Decl., Ex. E; EU Oftice
Action Response dated 02/22/2012, p. 1~2, Potter Decl., Ex. F.)

_34-

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 47 of 74 Page|D #: 3261

indefinite claim limitation See, e.g., Geodynamz'cs, Inc. v. Dynaenergetics US, [nc., No. 2:15~
CV~1546-RSP, 2016 WL 6217181, *15~*16 (E.D. Tex. Oct. 24, 2016) (term “substantially equal
to the total depth of penetration” was indefinite because the specification did not provide any
guidance as to what was “substantially equal” and what was not where the only relevant
instances of the limitation described scenarios that were “equal” and not something that was
“substantially equal”); Core Wireless Lz`censz`ng, S.a.r.l. v. Apple Inc., No. 15-cv-05008-PSG,
2016 WL 3124614, *12 (N.D. Cal. Jun. 3, 2016) (term “substantially impair the quality” in a
limitation reciting “of a sufficiently low number so as not to substantially impair the quality of
the user information” was indefinite since the intrinsic evidence left it too uncertain as to when
something was “substantially impaired” and when it was not); Cayenne Med., 2016 WL 2606983
at *3-*6 (finding the term “substantially different construction” indefinite because “[t]here is
nothing in the intrinsic evidence that would allow one skilled in the art to determine with
reasonable certainty, when the magnitude of change in the ‘construotion’ of the first and second
member is no longer insubstantial but rather has become ‘substantially’ different.”).

For all of the reasons above, this claim limitation does not inform, with reasonable
certainty, those skilled in the art about the scope of the invention, and is indefinite See z'd.;
chutz'lus, 134 S. Ct. at 2129.

Ansell’s Reply Position:

RB’s expert, Dr. Potter, has testified that he agrees with Ansell’s expert, Dr. Ho, that “a
skilled person working in the field would have interpreted the expression ‘wherein the intra~
polyisoprene particle crosslinks and the inter-polyisoprene particle crosslinks are substantially
uniform in said synthetic polyisoprene latex article’ to mean that the number of crosslinks per

unit area in the intra~par'ticle regions (inside particles) is ‘substantially’ uniform with the number

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Case 1:15-cV-00915-RGA Document 126 Filed 02'/08/17 Page 48 of 74 Page|D #: 3262

of crosslinks per unit area in the inter~particle regions (i.e., those regions at the particle
boundaries where crosslinks have formed between the polyisoprene chains in adjacent
particles).” Potter Dep. Tr. (App. Vll hereto) at 89:4-90:4 & Potter Ex. ll (App. Vlll hereto) at
il 17.

Not only has RB’s expert agreed as to how a person of ordinary skill in the art would
have understood the term “the intra~polyisoprene particle crosslinks and the inter-polyisoprene
particle crosslinks are substantially uniform,” and therefore necessarily could have understood
the term, but notwithstanding Ansell’s clear reliance on this point in its opening claim
construction brief, RB completely fails to address the fact that its affiliated corporate entities also
necessarily understood the scope of this claim feature when they judicially admitted that it was
present in the accused Durex RealFeel condoms. This is powerful evidence countering RB’s
indefiniteness arguments While the facts that the PTO and RB’s affiliates were able to apply
this term will not render a claim immune from an indefiniteness argument, “they nevertheless
provide evidence that a skilled artisan did understand the scope of th[e] invention with
reasonable certainty.” Sonix, 2017 WL 56321 at *8; see also, Amgen, Inc. v. Chugaz‘
Pharmaceutz`cal, Co., Lta’., 927 F.2d 1200, 1217 (Fed. Cir. 1991) (the fact that the patentee’S own
business partner itself questioned whether the specific activity value of its own product was
within the claim coverage was evidence of indefiniteness).

This term is not indefinite and, in Ansell’s view, does not need construction except as to
the word “substantially.” See Ecolab, Inc. v. Envz'rochem, Inc., 264 F.3d 1358, 1367 (Fed. Cir.
2001). Should the Court believe that further construction is required, the construction should be

consistent with that agreed to by the parties’ experts

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Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 49 of 74 Page|D #: 3263

RB’s Sur-Replv Position:

lmproperly harkening back to the “insolubly ambiguous” standard rejected by the
Supreme Court in Nautz`lus, Ansell’s reply is that this term must be definite because Dr. Potter
expressed the view that a person of ordinary skill in the art would have had some understanding
as to what the words meant18 That is decidedly not the test. See Dow Chem., 803 F.Sd at 634
(reversing its own earlier decision under the “insolubly ambiguous” standard that had found a
claim term directed to the slope of a coefficient definite because experts and persons of ordinary
skill in the art had an understanding as to the meaning of the term and thus could envision ways
to measure it, holding that “[ujnder Nautilus this is no longer sufficient” since it is no longer
enough that some meaning can be ascribed to the term). What matters is whether the term
informs, with reasonable certainty, those skilled in the art about the scope of the invention Id.
And, here, Ansell failed to rebut a single argument made by RB or a single fact asserted by Dr.
Potter that proves that, regardless of what the words may mean, determining what is and is not
“substantially uniform” or “substantially uniformly distributed” (z'.e., determining the scope) is a
subjective exercise such that the limitation fails to infoim, with reasonable certainty, those
skilled in the art about the scope of the invention and is indefinite (See Potter Decl., 1111 46-57,

69~79.)

 

18 Ansell’s attempt to backdoor into evidence in this case various witness statements from the
Australian case (including statements from its own expert, Dr. Ho) should be rejected as
inadmissible hearsay that does not otherwise comply with the requirements for declarations
signed outside of the United States. See Reckz'tz‘ Benckz`ser Pharmaceutz`cals Inc. v. Waz‘son
Laboratories, Inc., No. 13-1674-RGA, 2016 WL 3186659, at *8, n.8 (D. Del. June 3, 2016); Fed,
R. Evid, 801(0), 802; 28 U.S.C. § 1746. The Court should refuse to consider those statements,
which include the documents at App. VIH, App. X and App. XI hereto

_37_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 50 of 74 Page|D #: 3264

CLAIM TERM NO. 3: “WHEREIN THE INTRA-POLYIS()PRENE PARTICLE
CROSSLINKS AND THE INTER-POLYISOPRENE PARTICLE CROSSLINKS ARE
SUBSTANTIALLY UNIFORMLY DISTRIBUTED AM()NG AND BETWEEN THE
SYNTHETIC POLYISOPRENE PARTICLES.” (’029 patent, claims 1, 2, 3, 7, 8, 11, 16
and 17).

Ansell’s Pronosed Construction: Plain meaning with the word “substantially” meaning “to a
large extent, but not necessarily completely.”

RB’s Proposed Construction: This term is indefinite Based on the specification, pre-
vulcanization is required to achieve intra-paiticle crosslinks However, pre-vulcanization is not
expressly required, and thus it is unclear how to produce the claimed features lt also is unclear
what would constitute a sufficient level of uniformity to meet the claim language, and it is
unclear how a person of ordinary skill in the art could make an objective determination as to
whether a sufficient level of uniformity has been achieved lndeed, it is clear that such a
determination would be an entirely subjective exercise Thus, when this term is read in light of

the specification delineating the patent, and the prosecution history, it fails to inform, with
reasonable certainty, those skilled in the art about the scope of the invention.

Ansell’s Opening Position:

The discussion with respect to Claim Term No. 2 is equally applicable here.
RB’s Answering Position:

Claim l in the ’029 Patent requires that “the intra-polyisoprene particle crosslinks and the
inter-polyisoprene particle crosslinks are substantially uniformly distributed among and between
the synthetic polyisoprene paiticles.”

For all the reasons stated above for the preceding limitation, there simply is no way to
objectively determine whether this limitation is met. lt requires a visual inspection of an
osmium tetroxide treated sample (such as is shown in Figure l) and the subjective
determination as to whether the staining in the sample is uniform from one location to the next.
To the extent Ansell suggests using a similar visual inspection of SEM images (such as is
shown in Figures 2 and 5), for the reasons stated above, that would be equally subjective and
would not reveal anything about the uniformity of the crosslinks (See Potter Decl., 1[1[ 46»59,

69-79.) In addition, the fact that there are potentially multiple ways to make the determination

_33_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 51 of 74 Page|D #: 3265

that could have different results also renders the limitation indefinite under the Naurilus
standard (See Potter Decl., jj 78); see, e.g., Dow Chem., 803 F.3d at 630~35; Teva, 789 F.3d at
1341-45. Finally, as with the prior limitation, the use of the modifier “substantially” in this
limitation renders the scope of the claim open~ended and subject to the subjective whim of the
person of ordinary skill in the art trying making the determination given that the specification
provides absolutely no objective guideposts as to what is and is not “substantially” uniformly
distributed (See Potter Decl., jj 75); See, e.g., Inter'val Licensz'ng, 766 F.3d at 1371-73;
Geoa’ynamics, 2016 WL 6217181 at *15~'“"16; Core Wz`reless, 2016 WL 3124614 at *12;
Cayenne Med., 2016 WL 2606983 at *3~*6. Thus, when this limitation is read in light of the
specification and the prosecution history, it fails to inform, with reasonable ceitainty, those
skilled in the art about the scope of the invention (See Potter Decl., ‘jj 79); see Nautilus, 134 S.
Ct. at 2129.
Ansell’s Reply Position:

The discussion with respect to Claim Term No. 2 is equally applicable here.

CLAIM TERM N(). 4: “SUBSTANTIALLY CONCHOIDAL FRACTURE” (’412 patent,
claim 3; ’7 19 patent, claims 1, 8, 10, 11, 16 and 17 ; ’029 patent, claims 2, 3 and 8).

Ansell’s Proposed Construction: A fracture that appears to a large extent, but not necessarily
completely, shell-like.

RB’s Proposed Construction: This term is indefinite lt is unclear what would constitute a
sufficiently conchoidal fracture to meet the claim language, and it is unclear how a person of
ordinary skill in the art could make an objective determination as to whether a sufficiently
conchoidal fracture has been achieved Rather, when this term is read in light of the specification
delineating the patent, and the prosecution history, it is clear that determining what is and is not a
“substantially conchoidal fracture” is an entirely subjective exercise such that, the term fails to
. inform, with reasonable certainty, those skilled in the art about the scope of the invention

_39_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 52 of 74 Page|D #: 3266

Ansell’s Or)ening Position:

The term “conchoidal” in the context of a fracture is defined within the specification19
as “shell-like.” See Specification, col. 7, lines 3-4. The discussion of the term “substantially”
in connection with Claim Term No. 2 is equally applicable here.

Again, compelling evidence of the ability of a skilled artisan to understand the meaning
of this claim term is the fact that RB’s affiliates have admitted in the parallel Australian
proceedings that this feature is present in the accused Durex RealFeel condoms. See
Kenworthy Claim Construction Decl. (App. Xll hereto)§ at jj 6.

RB’s Answering Position:

Claim 3 in the ’412 Patent, Claim 1 in the ’7l9 Patent, and Claims 2, 3 and 8 in the ’029
Patent require that a SEM image of a sample of the claimed article exhibit a “substantially
conchoidal fracture” when fractured at liquid nitrogen temperature This limitation is indefinite
because it is unclear what Would constitute a sufficiently conchoidal fracture to meet the claim
language, and it is unclear how a person of ordinary skill in the art could make an objective
determination as to whether a sufficiently conchoidal fracture has been achieved. Rather, when
this limitation is read in light of the specification and the prosecution history, determining what
is and is not a “substantially conchoidal fracture” is an entirely subjective exercise such that, the
limitation fails to inform, with reasonable certainty, those skilled in the art about the scope of the
invention

As an initial matter, the dictionary defines “conchoidal” as “[ojf, relating to, or being a

surface characterized by smooth, shell-like convexities and concavities, as on fractured

 

19 The specifications of the four Patents-in-Suit are identical Accordingly, for

convenience, unless otherwise stated, cites to the “Specification” are to that of the ’412 Patent
and are representative with respect to the corresponding portions of the other three patents

_49_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 53 of 74 Page|D #: 3267

obsidian.” (See, e.g., Definition of “conchoidal” at http://www,thefreedictionai'y.com/
conchoidal.) Ansell’s proposed construction of “shell~like” seems to be generally in accord with
this definition l-lowever, what exactly does it mean to be shell~like? Ansell does not say, and
neither do the Patents-in-Suit.

l\/loreover, as with the previously~discussed limitation “substantially uniform,” the
inclusion of the term “substantially” in this limitation introduces a level of degree in the claim
that makes it impossible for a person of ordinary skill in the art to understand the metes and
bounds of the claim. That is, even if one could reconcile the meaning of shell~like, how shell~
like would the fracture surface have to be in order for it to be “substantially” conchoidal? And
how un-shell-like would a fracture surface have to be for it to cease to be “substantially”
conchoidal within the meaning of the claims‘? The Patents-in-Suit do not answer these questions
and offer no objective guideposts to allow a person of ordinary skill in the art to make that
determination See, e.g., Geodynamics, 2016 WL 6217181 at *15-*16; Core Wireless, 20l6 WL
3124614 at *12; Cayenne Mea’., 2016 WL 2606983 at *3-*6.

ln any event, a person of ordinary skill in the art reading this limitation in the context of
the disclosure in the specification would understand it to be referring to a fracture surface that
locks similar to the fracture surface in Figure 2 (image on the §§ below). But determining
whether or not such an image evidences a fracture surface that is substantially conchoidal
depends solely on the unrestrained subjective opinion of the person evaluating the figure (See
Narasimhan Dep. Tr., p. 270, line l to p. 271, line ll, Potter Decl., Ex. B.) For example, the

figure below to the right is from Ansell’s infringement contentions in this case.

-41_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 54 of 74 Page|D #: 3268

 

Fig. 2

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20 gm convexiiics amd ccx\c.’\viiic.\') are illustrated by ihi: doucd line
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These figures look nothing alike. (See Potter Decl., ‘|j 89.) Figure 2 on the le_f_`t has a
clean fracture surface that exhibits smooth curved breaks in the material, the image on the r_igm
shows the opposite l\/loreover, the surface that is identified as being conchoidal in the image on
the _r_i_gl_i_t_ only extends over a small portion of the fracture surface So the question is, does the
figure on the _r_ight_ show a substantially conchoidal fracture surface? While it is common in
infringement cases for the parties to disagree about whether the accused products are within the
scope of the claim, here we cannot even get to that question because, based on the language of
the claim and the teaching in the specification, there is no way to objectively determine claim
scope - i.e., what is and is not “substantially conchoidal.” lt is wholly dependent on the
subjective opinion of the person looking at the figures, and there are no guideposts in the
Patents-in-Suit that would allow a person of ordinary skill in the art to determine the objective
limits of the claim. See, e.g., Inferval Licerzsz'ng, 766 F.3d at 1371-73. For these reasons, this
claim limitation does not inform, with reasonable certainty, those skilled in the art about the
scope of the invention, and the claims are indefinite (See Potter Decl., jj‘jj 84-90); see Naurz'lus,

134 S. Ct. at 2129; Interval Licensz`ng, 766 F.3d at 1371-73.

_42_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 55 of 74 Page|D #: 3269

Ansell’s Reply Position:

RB’s expert, Dr. Potter, has testified that he agrees with Ansell’s expert, Dr. Ho, that
“[b]efore l\/lay 2008, a skilled person working in the field would have understood the expression
‘substantially conchoidal’ to mean a surface that resembles the curves of a sea shell such as a
mussel shell surface (conchoidal is derived from the Greek word for a mussel which is
‘konchoeides’). ln relation to the fracture surface described in claim [3] of the Ansell Patent, a
person working in the field would expect to see shell like features, i.e. elevations and depressions
shaped like the inside of a mussel shell.” Potter Dep. Tr. (App. Vll hereto) at 98:16-99:12 &
Potter EX. ll (App. Vlll hereto) at 18.

As with Claim Term No. 2, RB’s expert, Dr. Potter, has agreed as to how a person of
ordinary skill in the art would have understood the term “substantially conchoidal fracture,” and
therefore necessarily could have understood the term. Also, as with Claim Term No. 2,
notwithstanding Ansell’s clear reliance on this point in its opening claim construction brief, RB
again completely fails to address the fact that its affiliated corporate entities also necessarily
understood the scope of this claim feature when they judicially admitted this limitation was
present in the accused Durex RealFeel condoms. This is powerful evidence countering RB’s
indefiniteness arguments See Sonz'x, 2017 WL 56321 at *8.

Ansell respectfully submits that the term “substantially conchoidal fracture” is not
indefinite, and should be construed to mean “a fracture that is to a large extent, but not
necessarily completely, shell-like.” Should the Court believe that further construction is

required, the construction should be consistent with that agreed to by the parties’ experts

..43..

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 56 of 74 Page|D #: 3270

RB’s Sur-Replv Position:

Ansell’s reply is, again, that this term must be definite because Dr. Potter expressed a

view that a person of ordinary skill in the art would have had some understanding as to what the
words meant 'l`hat is n_o_t the test. See Dow Chem., 803 F.3d at 634. The test is whether the
term informs, with reasonable ceitainty, those skilled in the art about the scope of the invention.
Id. ln this case, even if the Court were to adopt Ansell’s construction ~ “a fracture surface that is
to a large extent, but not necessarily completely, shell~like” _ the unrebutted evidence is that the
scope would still be indefinite because it depends entirely on the subjective opinion of a person
looking at a photograph as to whether they personally think the surface is “to a large extent”
“shell-like’° (whatever that means). (See Potter Decl., \H[ 84-9().)
CLAIM TERM NO. 5: “ABSENCE GF INTRA-POLYISOPRENE AND INTER-
POLYISOPRENE PARTICLE FEATURES” (’412 patent, claim 4); “ABSENCE OF
SCANNING ELECTRON MICROSCOPE-VIEWABLE INTRA-POLYISOPRENE AND
INTER-POLYISOPRENE PARTICLE FEATURES.” (’719 patent, claims 1, 8, 10, 11, 16
and 17; ’029 patent, claims 2, 3 and 11).

Ansell’s Proposed Construction: “No particle features are visible in a SEM micrograph of
sufficient magnification to allow such particles to be seen.”

RB’s Proposed Construction: “No particle features are visible in a SEM micrograph of
sufficient magnification to allow such particles to be seen because the entire fracture surface
propagated with no preference for either the intra particle region or the inter particle regions.”
Ansell’s Opening Position:

The only difference between the parties’ proposed constructions is that RB wishes to add
language regarding the reason for the absence of the particle features when such reason is not

called for by the claim language This is a classic example of an attempt to improperly import

language from the specification into the claim.

-44_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 57 of 74 Page|D #: 3271

RB’s Answering Position:

Claim 4 in the ’4l2 Patent requires an “absence of intra-polyisoprene and inter-
polyisoprene particle features” in a fracture surface of an article fractured at room temperature
and Claim l in the ’719 Patent, and Claims 2, 3 and ll in the ’029 Patent require an “absence of
scanning electron microscope-viewable infra-polyisoprene and inter-polyisoprene particle
features” in a fracture surface of an article fractured at room temperature Both parties agree that
these limitations mean that no particle features are visible in a SEl\/l micrograph of sufficient
magnification to allow such particles to be seen.

However, RB’s position is that the construction also should define precisely what the
claims mean when they refer to an absence of particle features That meaning should not be
controversial based on the unambiguous teaching in the specification, which provides in
reference to the SEM in Figure 5 that “{t]he fracture surface as shown in this figure shows a
fracture surface that was very nearly planar with no features indicating intra particle or inter
particle regionsl This absence of intra~polyisoprene particle and inter-polyisoprene particle
features M that the fracture surface propagated with no preference for either the infra
particle region or the inter particle regions . . . .” (’412 Patent, Col. 7, lines 48-51 (emphasis
added).)

Thus, telling the jury that this limitation m_@;r_s that the entire fracture surface propagated
with no preference for either the infra-particle region or the inter-particle regions will tell them
what the need to look for when comparing the claims to the prior art and the accused products
ln the absence such a construction, the parties would be left to argue that point to the jury ~ i. e.,
what is meant by an absence of particle features Where that is the case, as it is here, the Court

must resolve the dispute because it is a matter of claim scope See, e.g., Every Penny Counts,

_45_

Case 1:15-cv-00915-RGA Document 126 Filed 02/08/17 Page 58 of 74 Page|D #: 3272

Inc. v. Amerz'can Express Co., 563 F.3d 1378, 1383 (Fed. Cir. 2009) (“[T]he court’s obligation is
to ensure that questions of the scope of the patent claims are not left to the jury. . . [i]n order to
fulfill this obligation, the court must see to it that disputes concerning the scope of the patent
claims are fully resolved.”); 02 Mz'cro Int’l Ltd. v. Beyond lnnovatz'on Tech. Co., 521 F.3d 1351,
1361-63 (Fed. Cir. 2008) (reversing district court’s decision not to construe disputed term
because it left the parties free to argue claim construction to the jury). RB’s proposed
construction resolves this dispute Ansell’s does not.

Ansell’s Reply Position:

RB argues that the construction of this limitation must include the reason for the absence
of the particle features because this “will tell [the jury] what the[y] need to look for when
comparing the claim to the prior art and the accused products.” What the jury will need to look
for is the presence or absence of particle features in a SEM micrograph of sufficient
magnification to allow particles to be seen. The reason for the absence of such particles is
neither a requirement of the limitation nor something the jury will have to determine

The cases cited by RB, Every Penny Counts, 563 F.3d at 1383, and 02 Mz`cro, 521 F.3d
at 1361-63, involving situations where the district courts had not given any constructions despite
competing proposed constructions by the parties, are completely inapt. By refusing to include in
its construction the extraneous language that RB wishes to include the Court will neither have
failed to perform its duty of construing the claims nor be permitting the parties to argue claim

construction to the jury.

..46_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 59 of 74 Page|D #: 3273

CLAIM TERM NO. 6: “UNIFORMITY OF ISOPRENE DOUBLE B()NDS” (’412 patent,
claim 8; ’7 19 patent, claim 16).

Ansell’s Proposed Co}_lstruction: Plain meaning

RB’s Proposed Construction: This term is indefinite lt is unclear what would constitute a
sufficient level of uniformity to meet the claim language, and it is unclear how a person of
ordinary skill in the art could make an objective determination as to whether a sufficient level of
uniformity has been achieved Rather, when this term is read in light of the specification
delineating the patent, and the prosecution history, it is clear that determining what is and is not
uniform is an entirely subjective exercise such that the term fails to inform, with reasonable
certainty, those skilled in the art about the scope of the invention

Ansell’s Oneninz.r Position:

The discussion with respect to Claim Term No. 2 applies equally here. Uniformity of
isoprene double bonds is indicative of cross-link uniformity. See Specifrcation, col. 16, line 66
to col. 17, line l2.

RB’s Answeriug Position:

Claim 8 in the ’412 Patent and Claim 16 in the ’7 19 Patent require that film have a
“uniformity of isoprene double bonds.” As with the “substantially uniform” limitation discussed
above, this limitation is indefinite because it is unclear What would constitute a sufficient level of
uniformity to meet the claim language, and it is unclear how a person of ordinary skill in the art
could make an objective determination as to whether a sufficient level of uniformity has been
achieved. There is no way to objectively determine whether this limitation is met, lt requires a
visual inspection of an osmium tetroxide treated sample (such as Figure l) and the subjective
determination as to whether the staining in the sample is uniform from one location to the neXt.
The Patents-in-Suit offer no objective guideposts for making this determination, and thus the
scope of the claims at issue is left entirely to the subjective judgment of the person looking at the

TEl\/I. _(See Potter Decl., 1111 80-82.) Thus, when this term is read in light of the specification and

the prosecution history, it is clear that determining what is and is not uniform is an entirely

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Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 60 of 74 Page|D #: 3274

subjective exercise such that the term fails to inform, with reasonable certainty, those skilled in
the art about the scope of the invention
Ansell Reply Position:

The discussion with respect to Claim Term No. 2 applies equally here. Uniformity of
isoprene double bonds is indicative of cross-link uniformity. See Specifrcation, col. 16, line 66
to col. l7, line 12.

CLAIM TERM NO. 7 : “PASSES THROUGH BOTH INTER-PARTICLE REGIONS
AND INTRA-PARTICLE REGI()NS NONPREFERENTIALLY” (’412 patent, claim 9;
’029 patent, claim 17).

Ansell’s Pronosed Construction: Plain meaning

RB’s Proposed Construction: “No part of the fracture surface forms around individual
polyisoprene particles because the entire fracture surface propagates with no preference for either
the intra particle region or the inter particle regions.”

Ansell’s Oneninzf Position:

The words in this term are not given any meaning other than their plain and ordinary
meaning in the Specification. RB’s proposed construction includes the phrase “propagates with
no preference for either the intra particle region or the inter particle region.”20 That language is a
portion of the following statement from the Specification: “propagate[s] with no preference for
either the intra particle region or the inter particle region indicating that both inter and intra
particle regions were approximately equal strength or were crosslinked nearly equally.”
Specification, col. 7, lines 49-53. Ansell would have no objection to a construction using all of

this language from the specification, but respectfully submits that the claim language itself is

simpler and easier for a jury to understand The first portion of RB’s proposed construction,

 

20 RB includes the term ‘°fracture surface” in its proposed construction, but that term is part
of the claim, and not part of what RB claimed needed construction

_48_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 61 of 74 Page|D #: 3275

however, has no support in either the language of the claims or the specification, and should not
be included in the Court’s construction
RB’s An_swering Position:

Claim l in the ’412 Patent and Claim l in the ’719 Patent requires that a fracture surface
created at room temperature “passes through both inter-particle regions and intra-particle regions
nonpreferentially.” A jury will have absolutely no idea what that means, and in particular what
“nonpreferentially” means. Thus, Ansell’s construction of plain meaning, which would leave the
parties to argue what it means to the jury, should be rejected. See, e.g., Every Penny Counrs.,
563 F.3d at 1383; 02 Mz'cro, 521 F.3d at 1361-63.

lnstead this limitation should be construed as “no part of the fracture surface forms
around individual polyisoprene particles because the entire fracture surface propagates with no
preference for either the intra particle region or the inter particle regions.” This would resolve
the question of claim scope for the jury, and is entirely in keeping with the specification, which
provides in reference to the SEM in Figure 5 that “[t]he fracture surface as shown in this figure
shows a fracture surface that was very nearly planar with no features indicating intra particle or
inter particle regions This absence of intra-polyisoprene particle and inter-polyisoprene particle
features means that the fracture surface propagated with no preference for either the intra particle
region or the inter particle regions . . . .” (See ’412 Patent, Col. 7 , lines 48-51.)

Ansell’s Reply Position:

As Ansell noted in its opening brief, the words in this term are not given any meaning

other than their plain and ordinary meaning in the Specifrcation. RB’s proposed construction

includes the phrase “propagates with no preference for either the intra particle region or the inter

_49..

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 62 of 74 Page|D #: 3276

particle region.”21 That language is a portion of the following statement from the Specifrcation:
“propagate[s] with no preference for either the intra particle region or the inter particle region
indicating that both inter and intra particle regions were approximately equal strength or were
crosslinked nearly equally.” Specification, col. 7, lines 49~53.

As noted in its opening brief, Ansell would have no objection to a construction using all
of this language from the specification, but respectfully submits that the claim language itself is
simpler and easier for a jury to understand Ansell continues to have no objection to a
construction using all of this language The first portion of RB’s proposed construction,
however, has no support in either the language of the claims or the specification, and should not
be included in the Court’s construction
CLAIM TERM NO. 82 “SAID SYNTHETIC POLYISOPRENE PARTICLES BONDED
TO EACH OTHER THROUGH INTRA~P()LYISOPRENE PARTICLE CROSSLINKS
AND INTER-POLYISOPRENE PARTICLE CR()SSLINKS” (’412 patent, claims 1, 2, 3,
4, 8, 9; ’719 patent, claims 1, 8, 10, 11, 16 and 17; ’027 patent, claims 1 and 5).
Ansell’s Proposed Constrgction: Plain meaning
RB’s ()riginal Pronosed Con_struction: This term is indefinite Based on the specification,
pre-vulcanization is required to achieve intra-particle crosslinks However, pre-vulcanization is
not expressly required, and thus it is unclear how to produce the claimed features lt is also
unclear what level of crosslinking is required to produce the claimed features Thus, when this
term is read in light of the specification delineating the patent, and the prosecution history, it fails
to inform, with reasonable certainty, those skilled in the art about the scope of the invention
Ansell’s Onening Position:

ln response to a Request for Admission in this case, RB has admitted that this element is

present in the accused Durex RealFeel condoms. See Kenworthy Claim Construction Decl.

(App. Xll hereto), at 1111 7 & 8. Accordingly, this term should require no construction at all.

 

21 RB includes the term “fracture surface” in its proposed construction, but that term is part
of the claim, and not part of what RB claimed needed construction “Construing a claim term to
include features of that term already recited in the claims would make those expressly recited
features redundant.” Apple, Inc. v. Ameram‘h, Inc., 842 F.?)d 1229, 1237 (Fed. Cir. 2016).

-50_

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 63 of 74 Page|D #: 3277

“[D]istrict courts are not (and should not be) required to construe every limitation presented in a
patent’s asserted claims.” 02 Mz'cro, 521 F.3d at 1362. “Claim construction ‘is not an
obligatory exercise in redundancy.’ ” Id, quoting U.S. Surgical Corp. v. Ez‘hz‘con, Inc., 103 F.3d
1554, 1565 (Fed. Cir. 1997). As for RB’s indefiniteness contention, what more compelling
evidence could there be that a skilled artisan would understand the meaning of this term, than the
fact that against its own interest, an accused infringer necessarily could and did understand the
term when it admitted the presence of that term in its accused product

Additionally, RB’s indefiniteness argument is based on a purported failure of this claim
language to disclose “how to produce the claimed features.” That is not the function of claims,
however “[T]he purposes of the specification are to teach and enable those of skill in the art to
make and use the invention and to provide a best mode for doing so.” th`llz'ps v. AWH Corp.,
415 F.3d 1303, 1323 (Fed. Cir. 2005) (Ernphasis added). Any invalidity challenges that RB may
have based on enablement or best mode are not for decision by the Court at the claim
construction phase
RB’s Answering Position:

Considering this limitation further in light of Ansell’s opening brief, RB agrees that it
does not require construction That said, the use of this limitation in Claim l of the ’027 Patent
renders the claim invalid for lack of enablement and/or written description The “present
invention” disclosed in the ’()27 Patent is “predicated” on the use of pre-vulcanization to
generate intra-particle crosslinks, and then balancing that with the degree of post-vulcanization
or curing to generate inter-particle crosslinks (See ’027 Patent, Col. 8, lines 36-41; Col. 9, lines
39-50; Col. 10, lines 55-59; Col. 1, lines 20-24.) Yet, unlike most of the other asserted claims in

this case, Claim 1 in the ’027 Patent does n__o§ expressly require pre-vulcanization, and Ansell has

..51..

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 64 of 74 Page|D #: 3278

not asked the Court to construe the claim to require it. This is problematic because there is
absolutely no disclosure in the ’027 Patent of how the claimed crosslinks or the claimed
molecular weight between crosslinks could be achieved Without pre"vulcanization. While RB is
of the view that this could give rise to an indefiniteness problem for the claim (as articulated in
the parties’ Joint Claim Chart), having now had the benefit of Ansell’s position on this
limitation, RB will instead focus this issue in the context of enablement and/or written
description at the appropriate time.
Ansell’s Reply Position:

ln response to a Request for Admission in this case, RB admitted that this element is
present in the accused Durex RealFeel condoms. See Kenworthy Claim Construction Decl.
(App. Xll hereto) at 111[ 7 & 8. Accordingly, Ansell argued in its opening brief that this term
should require no construction at all. Ansell also argued that as for RB’s indefiniteness
contention, what more compelling evidence could there be that a skilled artisan would
understand the meaning of this term, than the fact that against its own interest, an accused
infringer necessarily could and did understand the term when it admitted the presence of that
term in its accused product.

Considering this limitation further in light of Ansell’s opening brief, RB has now agreed

that it does not require construction, and has withdrawn its indefiniteness challenge

152_

Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 65 of 74 Page|D #: 3279

CLAIM TERM NO. 9: “OSMIUM TETROXIDE STAINING” (’029 patent, claim 2).
Ansell’s Proposed Construction: Plain meaning

RB’s Pronosed Construction: This term is indefinite When this term is read in light of the
specification delineating the patent, and the prosecution history, it is clear that the “osmium
tetroxide staining” test is an entirely subjective exercise such that, the term fails to inform, with
reasonable certainty, those skilled in the art about the scope of the invention

Were the Court to determine that the term is definite, then it should be construed as “A TEl\/l
micrograph of a styrene~swollen sample exposed to osmium tetroxide staining shows that the
level of staining is the same throughout the entire micrograph.” RB has subsequently withdrawn
this alternative proposed construction

Ansell’s Opening Position:

There is nothing indefinite about the language “osmium tetroxide staining” any more than
there is With respect to the phrase “osmium tetroxide treated” in claim 8 of` the ’412 Patent which
RB has not identified as needing construction lndeed, RB does not suggest that it should be
given other than its plain meaning, when in its alternative proposed construction it uses the very
term ‘°osmium tetroxide staining” and simply imports from the specification extraneous language
unsupported by the claim language or any express definition of the term “osmium tetroxide
staining” in the specification
RB’s Answering Position:

Claim 2 in the ’029 Patent explicitly provides that “substantial uniformity” can be
determined by visually inspecting an 'I`El\/l that has been prepared with “osmium tetroxide
staining” such as is shown in Figure l. For all the reasons stated above, this claim limitation
does not inform, with reasonable certainty, those skilled in the art about the scope of the

invention, and therefore renders Claim 2 indefinite (See Potter Decl., 1[1] 83, 46-56.) That is,

this limitation is indefinite because when it is read in light of the specification and the

_53_

Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 66 of 74 Page|D #: 3280

prosecution history, it is clear that the “osmium tetroxide staining” test is an entirely subjective
exercise

Were the Court inclined to adopt a construction for this term, then it should adopt a
construction that provides an objective basis for determining the scope of the claim. RB
suggested in the Joint Claim Construction Chart that such a construction should be “[a] TEM
micrograph of a styrene~swollen sample exposed to osmium tetroxide staining shows that the
level of staining is the same throughout the entire micrograph.” However, upon further
reflection, and now having had the benefit of Dr. Potter’s evaluation of this issue in his
declaration, it is clear to RB that even its proposed construction depends on a subjective
determination because the scope of the claim would be determined by a visual inspection of a
stained TEl\/l such as in Figure l and the subjective judgment of the person inspecting as to
whether the staining is the “same” throughout, which could differ from person to person. This
illustrates just how indefinite this limitation is.

Finally, Ansell’s proposed construction of “plain meaning” should be rejected because
there is no plain meaning for this limitation, and, even if there were, Ansell has not indicated
what it thinks it is.

Ansell’s Reply Position:

There is nothing indefinite about the language “osmium tetroxide staining” any more than
there is with respect to the phrase “osmium tetroxide treated” in claim 8 of the ’412 Patent which
RB has not identified as needing construction lndeed, RB does not suggest that it should be
given other than its plain meaning, when in its alternative proposed construction it uses the very

term “osmium tetroxide staining” and simply imports from the specification extraneous language

_54_

Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 67 of 74 Page|D #: 3281

unsupported by the claim language or any express definition of the term “osmium tetroxide
staining” in the specification

None of RB’s arguments go to either the meaning of this term or whether a person skilled
in the art would understand what the term “osmium tetroxide staining” was. Not only is the term
clearly described in the specification of the patents-in-suit, Specification, at col. l6, lines 43-69,
but RB’s expert himself has pointed to what he has characterized as the original in the art
regarding the TEM/osmium tetroxide staining technique described in the specification Potter
Decl. (App. V hereto) ll 49 & fn 4.

RB’s Sur-Reply Position:

Ansell’s reply is based on a false equivalence Whether or not something has been
treated with osmium tetroxide (as in Claim 8 of the ’412 Patent) is objectively knowable,
whereas, for all of the reasons already discussed with respect to the “substantially uniform”
terms, “measuring” uniformity using the “osmium tetroxide staining” test (as required by Claim
2 of the ’029 Patent) is subjective and indefinite l\/Ioreover, Ansell failed to mention that RB did
challenge the definiteness of Claim 8 of the ’412 Patent for the exact same reason - i. e., using an
osmium tetroxide treated article to determine “uniformity of isoprene double bonds” is a
subjective exercise and indefinite (See Potter Decl., il 46-57, 69-79, 80-83.)

CLAIM TERM NO. 10: “WHEREIN THE INTRA-POLYISOPRENE PARTICLE
CROSSLINKS AND THE INTER-POLYISOPRENE PARTICLE CROSSLINKS ARE
SUCH THAT THE MOLECULAR WEIGHT IS LESS THAN AB()UT [X] G/MOL
BETWEEN THE CROSSLINKS” (’027 patent, claims 1 and 5).

Ansell’s Proposed Constrgg_i_gy_: Wherein using the weight method as described in column 15,
lines l through 37 of the ’027 patent, the molecular weight of the material between both the
intra-polyisoprene particle crosslinks and the inter-polyisoprene particle crosslinks is less than

approximately [X] grams per mol.

RB’s Proposed Construction: This term is indefinite Both because of the use of the imprecise
term “about” in the claim and the fact that the method described in the specification that is

-55_

Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 68 of 74 Page|D #: 3282

supposed to be used to calculate molecular weight between crosslinks has an undisclosed margin
of error that renders the calculation inaccurate a person of ordinary skill in the art could not, to a
reasonable degree of certainty, determine what is and is not less than “about” the claimed
molecular weight

Ansell’s Opening Position:

RB does not suggest that the words in this claim term have other than their plain and
ordinary meaning, nor does it dispute that the weight method of determining the molecular
weight between crosslinks is identified and described in the specification at column 15, lines l
through 37 of the ’027 Patent. Rather, RB’s sole indefiniteness arguments are based on the use
of the term “about” and the fact that the specification does not expressly disclose the margin of
error. Addressing the last point first, RB does not suggest that a person of ordinary skill in the
art would not know the margin of error for the disclosed testing method. As to the use of the
term “abou`t,” like the term “substantially,” the term “about” is ubiquitous in patent claims and its
use has been regularly sustained in the face of indefiniteness challenges. Ecolab, 264 F.3d at
1367 . This claim term is not indefinite
RB’s Answering Position:

Claims l and 5 in the ’027 Patent require that “the lmra-polyisoprene particle crosslinks
and the inter-polyisoprene particle crosslinks are such that the molecular weight is less than
gb_g_u_t [X] g/mol between the crosslinks.” Tln's limitation is indefinite at least because of the use
of the imprecise term “about” in the claim and the fact that the method described in the
specification that is supposed to be used to calculate molecular weight between crosslinks has an
undisclosed margin of error that renders the calculation inaccurate and unreliable As a result, a

person of ordinary skill in the art could not, to a reasonable degree of certainty, determine what

is and is not less than “about” the claimed molecular weight

_56_

Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 69 of 74 Page|D #: 3283 `

A person of ordinary skill in the art reading these claims in view of the disclosure in the
specification would understand that the this claim limitation is directed to the molecular weight
calculation disclosed in the ’412 Patent at Col. 15, line 21 to Col. 16, line 4l. Yet, for at least
two reasons the scope of this limitation (and hence the claims within which it appears) is unclear

as a matter of law.
First, as Dr. Lucas acknowledged during his deposition, _

line 13 to p. 187, line 6; p. 195, line 20 to p. 198, line l9, Potter Decl., Ex. C,) Second, this lack
of disclosure and inaccuracy is compounded by the fact that the claim limitation modifies the
stated molecular weight with the term “about,” which is a term of approximation that blurs the
metes and bounds of the claim.

For example Claim l of the ’027 Patent requires that “the intra-polyisoprene particle
crosslinks and inter-polyisoprene particle crosslinks are such that the molecular weight is less
than about 8000 g/mol between the crossiinks.” Since the test in the specification has an
undisclosed margin of error and is not “super accurate,” the claim limitation’s use of the term
“about” begs the question, how far above 8000 g/mol can the molecular weight be before it is too
high to meet the claim limitation? Table 7 in the specification and the accompanying discussion
both appear to suggest that the 895 5 g/rnol calculated for the prior art Durex product made in
accordance with the GB Patent is too high. But, what about 8100, would that still be less than
about 8000 g/mol? What about 8200 g/mol? Where is the cut-off? The Patents-in~Suit offer no
guidance or objective guideposts to answer these questions in order to determine what is and is

not less than “abou ” 8000 g/mol. (See also Lucas Dep. Tr., p. 201, lines 15-22 _

_57-

Case 1:15-CV-00915-RGA Document 126 Filed 02/08/17 Page 70 of 74 Page|D #: 3284

_ Potter Decl., Ex. C.) And because there is no accepted

definition of “about” in this context in the art, the claim scope is not defined in a way to allow a
person of ordinary skill in the art to be able to objectively determine what is within the scope of
the claims and what is not within the scope of the claims See, e.g., Amgen v. Chugai, 927 F.Zd
at l2l7-18 (“about” as used in a claim of “at least about 160,000 lU/AU” specific activity was
indefinite since it did not apprise as to how much below that l60,000 value was being claimed
and there was close prior art at the lower end of the claimed range); Synthes (USA) v. Srnz'th &
Nephew, Inc., No. 03-cv-0084, 2008 WL 343114, *l5 (E.D. Pa. Feb. 4, 2008) (the limitation
“less than about 2%” was indefinite because a person of ordinary skill in the art would not know
the bounds of the limitation where the specification provide no guidance as to how much above
2% would qualify as “about 2%”).

For these reasons, this claim limitation does not inform, with reasonable certainty, those
skilled in the art about the scope of the invention (See Potter Decl., jl‘\l 60, 91-94); see Naul'z'lus,
134 S. Ct. at 2l29.

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RB does not suggest that the words in this claim term have other than their plain and
ordinary meaning, nor does it dispute that the weight method of determining the molecular
weight between crosslinks is identified and described in the specification at column 15, lines 1
through 37 of the ’027 Patent. Rather, RB’s sole indefiniteness arguments are based on the use
of the term “abouti7 and the fact that the specification does not expressly disclose the margin of

error. As to the use of the term “about,” like the term “substantially,” the term “about” is

..58_

Case 1:15-CV-00915-RGA Document 126 Filed O2/O8/17 Page 71 of 74 Page|D #: 3285

ubiquitous in patent claims and its use has been regularly sustained in the face of indefiniteness
challenges Ecolab, 264 F.3d at l367. lndeed, RB’s expert, Dr. Potter, has used the term
“about” or “approximately” in the claims of a number of his own patents and patent applications
See Potter Dep. Tr. (App. Vll hereto) at 56:18-78:17 and Potter Exs. 15-l8, (Apps. XlV~XVIl
hereto). When presented with the claim term “less than about,” another judge from this district
has found no construction required other than to construe “about” to mean “approximately.” See
Roche Diagnosz‘ics Operaz‘z'ons, Inc, v. Abboz‘t Diabel‘es Care, No. 07~753-JJF (D. Del. Sept. l5,
2007) (App. XVIll hereto) at 19-21, and attached Grder jljl 12~15). lt is not disputed that “about”
and “approximately” mean the same thing.

Ansell has no objection to the Court construing “about” to mean “approximately,” but
does not believe that such a construction is either necessary or helpful for the jury, and does not
believe that any construction of the term “wherein the intra-polyisoprene particle crosslinks and
the inter-polyisoprene particle crosslinks are such that the molecular weight is less than about
[X] g/mol between the crosslinks” is required

To the extent that the Court believes that the jury will require more specific guidance as
to what the phrase “less than about X g/mol” means, one can look at claim 6 of the ’412 Patent
claiming a “molecular weight [that] is less than about 6800 g/mol between the crosslinks.” As
Dr. Potter testified at his deposition, Table 7 of the specification of the patents-in-suit discloses
the molecular weight between the crosslinks of three synthetic polyisoprene condoms
manufactured according to the subject invention, and all three of them are less than about 6800
grams Potter Dep. Tr. (App. Vll hereto) lOl:l6-102:23. Since the highest of those three
examples is 6754, the specification discloses to the reader that “about [X] g/mol” must mean in

the range of between X +/- 45 g/mol. Using these data points to inform the scope of an “about”

_59_

Case 1:15-CV-00915-RGA Document 126 Filed O2/O8/17 Page 72 of 74 Page|D #: 3286

term is entirely appropriate See, e.g. , Orrho-McNeil Phar'maceutz`cal, Inc. v. Coraco
Phczrmaceutz'cczl Labs, Lz‘d., 476 F.3d l321, l327-28 (Fed. Cir. 2007). ln the context of asserted
claim l of the ’027 Patent, “less than about 8000 g/mol” would thus mean less than 7955 g/mol,
and in the context of claim 5 of the ’027 Patent, “less than about 7500 g/mol” would mean less
than 7455 g/mol.

Claims that included the limitation “that the molecular weight is less than about [X]
g/mol between crosslinks” have been allowed by the U.S, Patent Office in both the ’412 and ’027
Patents, the Australian Patent Office, see Potter Dep. Ex. 6 (App. XIX hereto), and the European
Patent Office (App. XX hereto). lmplicitly, those duly authorized administrative bodies have
found that the language satisfies the respective indefiniteness/clarity requirements of those
jurisdictions RB’s indefiniteness argument should be rej ected.

RB’s Sur-Replv Position:

Ansell devotes half of its reply on this term arguing that Dr. Potter has used the term
“about” in several of his own patents That is meaningless lt is axiomatic that “whether a claim
is indefinite must be judged ‘in light of the specification and prosecution history7 of the patent in
which it appears,” not based on what a different inventor may have said in a different patent in a
different context See Sonz`x, 2017 WL 56321, at *8.

Ansell spends the remainder of its reply attempting to re-write the claims to avoid
indefiniteness Yet, unlike the Ortho-McNeil case cited by Ansell, there are no data points in the
Patents-in-Suit that come anywhere near the 8000 g/mol or 7500 g/mol in the asserted claims
The closest is 6754 g/mol for sample No. 3 that appears in Table 7, which is too low to shed any
light on the objective scope of “about” 8000 g/mol or “about” 7500 g/mol. l\/loreover, and this is

how the Court can be sure Ansell is wrong, under Ansell’s made-up “tolerance” calculation of

,60_

Case 1:15-CV-00915-RGA Document 126 Filed O2/O8/17 Page 73 of 74 Page|D #: 3287

+/~ 45 g/mol, the term “less than about 8000 g/mol” would §§Lt_l_§ 7956 g/mol to 7999 g/mol.
That makes no sense Of course 7999 g/mol is less than about 8000 g/mol, but that’s not the
problem The problem is that every person of skill in this art who has testified in this case thinks
the test is inaccurate and unreliable Thus, the use of the term “about” blurs the boundaries of
the claim because it begs the question, what is “about” 8000 g/mol using such an inaccurate test?
Would 8000 g/mol itself count? What about 8010 g/mol, or 8025 g/mol, or 8050 g/mol, or 8100
g/mol? There simply is no discernible cut-off because of the inaccuracy of the test and the lack
of objective guideposts in the specification The term is indefinite (See Potter Decl., W 60, 91-

94); See Nauz‘l.`lus, 134 S. Ct. at 2129; Synthes, 2008 WL 343ll4, *15.

ANSELL’S CONCLUSION

For all the foregoing reasons as contained in Ansell’s briefing, Ansell respectfully
requests that the Court reject RB’s indefiniteness arguments and construe the 10 claim terms in
accordance with the constructions proposed by Ansell.

RB’S CONCLUSION

For the reasons set forth above, as well as in Dr. Potter’s declaration, RB respectfully
requests that the Court find Term Nos. l-4, 6 and 9-10 indefinite and construe Term Nos. 5 and

7 in the manner proposed by RB.

..61..

Case 1:15-cV-00915-RGA Document 126 Filed 02/08/17 Page 74 of 74 Page|D #: 3288

DATE: February 6, 2017

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_62_

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